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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


SECURITIES AND EXCHANGE
COMMISSION.,

                       Plaintiff,

               vs.

ANTHONY J. THOMPSON, JR., JAY FUNG,
and ERIC VAN NGUYEN,

                       Defendants,
                                                    Case No.: 16-cv-9126 (KBF)
               and

JOHN BABIKIAN and KENDALL
THOMPSON,

                       Relief Defendants,

NEW YORK COUNTY DISTRICT
ATTORNEY,

                       Intervenor.



                     DECLARATION OF BRENT BAKER IN SUPPORT OF
                       DEFENDANT ANTHONY J. THOMPSON, JR.’S
                         MOTION TO DISMISS THE COMPLAINT

       I, BRENT BAKER, pursuant to 28 U.S.C. § 1746, declare as follows:

       1.      I submit this declaration in support of the motion of Anthony J. Thompson to

dismiss the complaint in this action. I was the counsel of record for Mr. Thompson in SEC v.

Recycle Tech, Inc, et al., S.D. Fla. No. 12-cv-21656-JAL (the “Florida Action”). I also

represented Mr. Thompson in relation to the New York SEC investigation and engaged in the

settlement negotiations with the SEC in New York on behalf of Mr. Thompson. I am familiar

with the proceedings in those matters and submit this Declaration based on personal knowledge.
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       2.     Attached hereto as Exhibit 1 is a true and correct copy of relevant excerpts of the

Transcript of the September 16, 2013 deposition of Leslie Marlow in the Florida Action.

       3.     Attached hereto as Exhibit 2 is a true and correct copy of a newsletter from

ExplicitPicks.com to Fellow Investors.

       4.     Attached hereto as Exhibit 3 is a true and correct copy of an email from Mr.

Thompson to Hank Gracin and Leslie Marlow, dated February 21, 2010.

       5.     Attached hereto as Exhibit 4 is a true and correct copy of an email from Mr.

Thompson to Brent Baker, Leslie Marlow, and Eric Van Nguyen, dated March 25, 2010.

       6.     Attached hereto as Exhibit 5 is a true and correct copy of an email string between

Mr. Thompson and Elliot Taylor, the topmost of which is dated May 3, 2010.

       7.     Attached hereto as Exhibit 6 is a true and correct copy of relevant excerpts of the

transcript of the February 10th, 2013 deposition of Anthony J. Thompson in the Florida Action.

       8.     Attached hereto as Exhibit 7 is a true and correct copy of Plaintiff’s Second Set of

Interrogatories to Defendant Anthony Thompson in the Florida Action.

       9.     Attached hereto as Exhibit 8 is a true and correct copy of Plaintiff’s Second Set of

Interrogatories to Defendant OTC Solutions LLC in the Florida Action.

       10.    Attached hereto as Exhibit 9 is a true and correct copy of Plaintiff’s Second

Request for Production of Documents to Defendant Anthony Thompson in the Florida Action.

       11.    Attached hereto as Exhibit 10 is a true and correct copy of Plaintiff’s Second

Request for Production of Documents to Defendant OTC Solutions LLC in the Florida Action.

       12.    Attached hereto as Exhibit 11 is a true and correct copy of excerpts of the

transcript of the October 15, 2013 deposition of Anthony Thompson in the Florida Action.




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          13.   Attached hereto as Exhibit 12 is a true and correct copy of a letter from myself

and James D. Sallah to Peter Pizzani, senior counsel at the SEC, dated September 24, 2013,

regarding Subpoenas.

          14.   Attached hereto as Exhibit 13 is a true and correct copy of a letter from myself to

Peter Pizzani, senior counsel at the SEC, dated November 5, 2013, regarding the Florida Action.

          15.   Attached hereto as Exhibit 14 is a true and correct copy of excerpts of the

transcript of the October 31, 2013 Discovery Hearing before Hon. John J. O’Sullivan in the

Florida Action.

          16.   Attached hereto as Exhibit 15 is a true and correct copy of the Order on Informal

Discovery Conference, filed October 31, 2013 in the Florida Action, docket number 133.

          17.   Attached hereto as Exhibit 16 is a true and correct copy of Defendant OTC

Solutions, LLC’s Answers to Plaintiff’s Second Set of Interrogatories in the Florida Action.

          18.   Attached hereto as Exhibit 17 is a true and correct copy of Defendant Anthony

Thompson’s Answers to Plaintiff’s Second Set of Interrogatories in the Florida Action.

          19.   Attached hereto as Exhibit 18 is a true and correct copy of Defendant OTC

Solutions, LLC’s Responses to Plaintiff’s Second Request for Production of Documents in the

Florida Action.

          20.   Attached hereto as Exhibit 19 is a true and correct copy of Defendant Anthony

Thompson’s Responses to Plaintiff’s Second Request for Production of Documents in the Florida

Action.

          21.   As of December 2013, based on discussions with my client, I undertook to settle

both the Florida Action and the New York investigation. Mr. Thompson was adamant, and I

agreed, that it made no sense to settle one of the actions without resolving the other virtually




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identical matter, and so I sought to reach agreements with both offices during that December and

January timeframe. I was able to reach agreements as to both matters and, as of on or about

January 13, 2014, Mr. Thompson executed settlement documents in the Florida Action and

caused the escrow of funds for the New York action. Attached hereto as Exhibit 20 is a true and

correct copy of the trust agreement, signed by Anthony Thompson on January 14, 2014.

       22.     Attached hereto as Exhibit 21 is a true and correct copy of the Consent of

Defendant Anthony Thompson to Final Judgment of Permanent Injunction and Other Relief,

dated January 13, 2014, in the Florida Action.

       23.     Attached hereto as Exhibit 22 is a true and correct copy of the Consent of

Defendant OTC Solutions LLC to Final Judgment of Permanent Injunction and Other Relief,

dated January 13, 2014, in the Florida Action.

       24.     Attached hereto as Exhibit 23 is a true and correct copy of the Final Judgment of

Permanent Injunction and Other Relief as to Defendant Anthony Thompson, filed February 14,

2014 in the Florida Action, docket number 171.

       25.     Attached hereto as Exhibit 24 is a true and correct copy of the Final Judgment of

Permanent Injunction and Other Relief as to Defendant OTC Solutions LLC, filed February 14,

2014 in the Florida Action, docket number 168.

       26.     The memorializing of the agreement with the New York SEC attorneys continued

after January and included a phone call with Mr. Pizzani, Mr. Osnato and Thomas Smith

(Assistant Regional Director in the New York Office) on March 28, 2014. During that

conversation, Mr. Osnato suggested that the parties enter into a separate agreement to confirm

that the settlement included all companies and conduct under investigation, rather than making

further amendments to the Offer of Settlement. Attached hereto as Exhibit 25 is a true and




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correct copy of an email exchange between myself and Peter Pizzani, the topmost of which is

dated March 28, 2014.

       27.      In relation to the settlement of the New York investigation, I had several

telephone calls with Mr. Pizzani and Michael Osnato during the week after January 7, 2014.

During one of these calls, Mr. Osnato and Mr. Pizzani confirmed that the settlement would

extend to all conduct that was under investigation in the Blast Matter, and agreed to reduce the

total settlement amount for disgorgement, penalties and interest to approximately $345,000 (plus

interest through August 13, 2013), as requested by Thompson. Mr. Osnato suggested that the

parties effectuate settlement by an Offer of Settlement, rather than the term sheet originally

proposed by the DOE. Mr. Osnato further indicated the DOE would prepare an Offer of

Settlement if Thompson would deposit the settlement funds into counsel’s trust account.

Thompson’s counsel agreed with this approach. Attached hereto as Exhibit 26 is a true and

correct copy of an email exchange between myself and Peter Pizzani, the topmost of which is

dated December 20, 2013.

       28.      Attached hereto as Exhibit 27 is a true and correct copy of an email from Peter

Pizzani to me, dated April 7, 2014.

       29.      Attached hereto as Exhibit 28 is a true and correct copy of an email exchange

between myself and Peter Pizzani, the topmost of which is dated January 9, 2014.

       30.      Attached hereto as Exhibit 29 is a true and correct copy of an email exchange

between myself and Peter Pizzani, the topmost of which is dated January 15, 2014.

       31.      Attached hereto as Exhibit 30 is a true and correct copy of an email from Peter

Pizzani to me, dated March 11, 2014, attaching a draft of the Offer of Settlement of Anthony J.

Thompson, Jr.




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       32.     Attached hereto as Exhibit 31 is a true and correct copy of a letter from my office

to Peter Pizzani, dated June 6, 2014, enclosing the original signed Offer of Settlement of

Anthony J. Thompson, Jr.

       33.     After delivering the executed Offer of Settlement, I contacted Mr. Pizzani on

several occasions to determine the status of the settlement and to see when the Offer of

Settlement “might get into the queue to be approved by the Commission.” Mr. Pizzani did not

give any indication that there were any problems with the settlement, or that additional approval

was necessary from within the Division itself. Rather, he responded, simply, “It is being moved

along,” and “things were delayed because we were waiting for the other offer [from Fung and

Pudong].” Attached hereto as Exhibit 32 is a true and correct copy of an email exchange

between myself and Peter Pizzani, the topmost of which is dated July 16, 2014.

       34.     Unexpectedly, and contrary to their agreement, in two telephone calls in August,

2014, Thomas P. Smith, Peter Pizzani and Sanjay Wadhwa of the DOE in New York advised me

that the Division had not submitted, and would not be submitting, the Offer of Settlement to the

Commission with a recommendation to approve the settlement. Mr. Smith, Mr. Pizzani and Mr.

Wadhwa told me that they were refusing to go forward with the agreement because they had

“come to learn of new information” since the time the agreement was negotiated. This new

information, they stated, consisted of the fact that Mr. Thompson had engaged in the same

conduct but with respect to “newly discovered” issuers - Smart Holdings, Mass Hysteria, Blue

Gem and Lyric Jeans.”

       35.     That representation was contrary to the DOE’s multi-year investigation, the broad

scope of the investigative subpoenas, and by the express agreement with DOE incorporating and

covering those other transactions. As reflected in the subpoenas in the New York investigation,




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that investigation, as of September 2012, involved not just Blast Applications, Inc., but also Red

Branch Techs Inc., Blue Gem Enterprises, Wind Works Power Corp., and Mass Hysteria

Entertainment Company, Inc. Attached hereto as Exhibit 33 is a true and correct copy of a

subpoena issued by the SEC’s New York Regional Office on September 17, 2012. As of August

2013, the SEC had expanded the scope of its investigation to include Smart Holdings, Inc., Lyric

Jeans, Inc., Fresh Harvest Products, Inc., Dynamic Response Group, Inc., and Blue Gem

Enterprise. Attached hereto as Exhibit 34 is a true and correct copy of a subpoena issued by the

SEC’s New York Regional Office on August 7, 2013.

       36.     On August 18, 2014, counsel for Fung and I had an escalation call with DOE

Staff and the Director of the Division of Enforcement, Andrew Ceresney, regarding the DOE’s

attempted repudiation of the agreement to submit the Offer of Settlement to the Commission and

to recommend settlement. During that escalation call, and at a subsequent meeting with counsel

on or about September 8, 2014, Mr. Ceresney insisted that any agreement negotiated by DOE

Staff is final and binding only if approved by him. Mr. Ceresney stated that the DOE had no

obligation to honor its agreement to submit the Offer of Settlement to the Commission, and

recommend its approval, because he had not approved it – an assertion that contradicted the

representations made by the DOE Staff, including Mr. Pizzani, Mr. Osnato and Mr. Smith, in

negotiating and entering into the agreement on behalf of the DOE with Mr. Thompson.

       I declare under penalty of perjury that the foregoing is true and correct.

Dated: New York, New York
       August 15, 2016




                                                                BRENT BAKER




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                          UNITED STATES DISTRICT COURT
                                                                 1
                          SOUTHERN DISTRICT OF FLORIDA           2               INDEX
                          Case NO. 1:12-CV-21656-JAL
       SECURITIES AND EXCHANGE :                                 3 WITNESS                    PAGE
       COMMISSION,                                               4  LESLIE MARLOW
                                  •
                   Plaintiff,                                        BY MS. NESTOR                4, 107
                                                                 5   BY MR. WASHBURN                  89, 113
              vs.                     DEPOSITION OF:
                                      LESLIE MARLOW              6
       RECYCLE TECH, INC., RYAN                                  7            EXHIBITS
       GONZALEZ, OTC SOLUTIONS,
       LLC ANTHONY THOMPSON,                                     8 NUMBER DESCRIPTION                        Page
       PUDONG LLC and JAY FUNG,                                  9  Exhibit 110 Subpoena              25
                    Defendants.                                     Exhibit 111 E-mail dated 7/3/10       74
                                  X                              0  Exhibit 112 E-mail dated 7/21/10       76
                    TRANSCRIPT of the stenographic notes            Exhibit 113 E-mails, Bates Nos. OTC 7 107
       of the proceedings in the above-entitled matter,
       as taken by and before MARY G. VAN DINA, a
                                                               11           through 13
       Certified Court Reporter and Notary Public of the       112
       State of New York, held at the office of the
       Securities and Exchange Commission, 3 World
                                                                 3
       Financial Center, New York, New York, on Monday,        p.4
       September 16, 2013, commencing at 10:00 in the
       forenoon.                                                 5
                                                               116




                                                               24
                                                               p5
                                                           2                                                               4
  1                                                             1                  Marlow 9/16/13
  2 APPEARANCES:
  3                                                             2      LESLIE MARL° W, 232 Sitka Court,
  4     SECURITIES AND EXCHANGE COMMISSION
        801 Bricknell Avenue Suite 1800
                                                                3      Woodbury, New York, 11797, having been duly sworn
  5     Miami, Florida 33131                                    4      by the Notary Public, testified as follows:
        (305) 982-6300
  6     BY: CHRISTINE NESTOR, ESQUIRE                           5      EXAMINATION BY MS. NESTOR:
        nestor@sec.gov
  7     Attorneys for Plaintiff
                                                                6          Q. Please state and spell your name.
  8     CLYDE SNOW & SESSIONS, ESQUIRES                                    A. Leslie Marlow, L-E-S-L-I-E,
        201 S. Main Street
  9     Salt I ake City, Utah 84111                                    M-A-R-L-O-W.
        (801) 322-2516                                            9
10      BY: D. LOREN WASHBURN, ESQUIRE
                                                                           Q. There are a few ground rules I'd like
            BRENT R. BAKER, ESQUIRE                               0    to go over with you, Ms. Marlow, before we start.
11      dlw@clydesnow.com
        brb@clydesnow.com                                         1           You are under oath just as if you were
12          and                                                 a2     in court.
        LAW OFFICES OF JEFFREY A. NEIMAN,
13      P.A.                                                   1-3            Do you understand that?
        100 Southeast Third Avenue Suite 2612
14      Fort Lauderdale, Florida 33394
                                                                p_4        A. Yes.
        (954) 462-1200                                         0.5         Q. And the court reporter is taking down
15      BY: JEFFREY A. NEIMAN, esquire (On
        Phone)                                                 0.6     your testimony, so you can't nod or shake your
16      Attorneys for Defendants Anthony
        Thompson, OTC Solutions
                                                               )17     head.
17                                                                8           Do you understand that?
        SALLAH & COX
18       2101 NW CORPORATE BOULEVARD SUITE 218                    9        A. Yes.
         BOCA RATON, FLORIDA 33486
19       (561) 989-9089
                                                                           Q. If at any time you don't understand
        BY: JAMES D. SALLAH, ESQUIRE                              1   any of my questions, please let me know and I'll
20       jds@sallahlaw.com
        Attorneys for Defendant Jay Fung and                   12 2 do my best to rephrase them.
23.     Pudong LLC                                                3           Okay?
22
23                                                                4        A. Okay.
24
25                                                                         Q. And if you do answer a question, I'm
                                                                                                    1 (Pages 1 to 4)

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                                                       77                                                              79
 1                Marlow 9/16/13                              1               Marlow 9/16/13
 2   "I want to make sure we have the latest before           2        Q. How about a person named Patrick Boyd?
 3   editing the e-mail disclaimer to include Greg's          3        A. Yes, that name is familiar, I believe.
 4   comments."                                               4    He might have been an employee of OTC Solutions.
 5           Do you see that?                                 5        Q. Did you provide litigation strategy
 6        A. Yes.                                             6    advice to OTC Solution or Anthony Thompson?
 7        Q. And who are you referring to there?                       A. No.
 8   Is that Mr. Baker?                                      8         Q. Did you participate in any
 9        A. I believe it is.                                9     conversations or e-mails where litigation advice
10        Q. And was Mr. Baker involved in editing           0     was being given to Anthony Thompson or OTC
11   the e-mail disclaimer?                                 ,1     Solutions?
12           MR. BAKER: Objection. The response             0.2        A. I believe I could have been on the
13      is privileged and involves advice given in            3    phone calls here and there, yes.
14      anticipation of litigation that would be not        14         Q. How about e-mails?
15      her privilege to waive.                             EL5        A. I'm not really sure.
16           MS. NESTOR: Are you instructing her                       Q. And was there a time when OTC
17      not to answer?                                      F17    Solutions and Mr. Thompson stopped receiving
18           MR. BAKER: Yes. Leslie, I'm                    18     stock in exchange for their promotional services?
19      instructing you not to answer.                      19         A. Yeah, I believe there was, yes.
20           MS. NESTOR: So the question that                0             And when was that?
21      you're instructing her not to answer: "Was          121        A. Oh, my goodness. I couldn't answer
22      Mr. Baker involved in editing OTC Solutions            2   that.
                                                            12
23      e-mail newsletter disclaimer?"                      p3             Do you remember what year?
24           MR. BAKER: Exactly.                            p4         A. I honestly don't recall.
25           MS. NESTOR: Okay. We'll have to take                      Q. And instead of receiving stock, were
                                                     78                                                               80
 1                Marlow 9/16/13                                              Marlow 9/16/13
 2      that one to the court then.                           2   they receiving cash?
 3           MR BAKER: That's fine.                           3       A. Yes.
 4   BY MS. NESTOR:                                           4       Q. Do you know why that was?
 5       Q. And do you know a person named Eric               5       A. My guess is that it was becoming more
 6   Van Nguyen, N-G-U-Y-E-N?                                 6   and more apparent that the SEC did not like when
 7       A. Yes, I believe I do.                              7   they received the stock, and Mr. Thompson was
 8       Q. Who is he?                                        8   very concerned about making sure he complied with
 9       A. I believe he had a similar newsletter             9   anything that the SEC would have wanted him to
10   out at that time.                                      a 0 comply with.
11       Q. Was he a client of yours?                       N. 1         I mean, that was the purpose of hiring
12       A. He might have been for a very short             0.2   me in the first place.
13   time.                                                  13        Q. And when you say you were guessing,
14       Q. Do you remember what company or was it          14 did you have any conversations with Mr. Thompson
15   individually?                                          15 in that regard?
16       A. Again, I'm not sure.                            116       A. Again, if I did, it was just so many
17       Q. Was he an employee OTC Solutions?               ,17 years ago.
18       A. Not to my knowledge.                            E18       Q. You just don't remember?
19       Q. Do you know a person named Elliott                9       A. I don't remember. I have a vague
20   Taylor?                                                12 0 memory.
21       A. The name is -- I believe I do. The                1       Q. Is Anthony Thomas still involved in
22   name is ringing a bell. It sounds familiar.            L2    the stock promotion business?
23       Q. And was he affiliated with OTC                  123       A. Not to my knowledge.
24   Solutions?                                             24        Q. Do you know when he exited the
25       A. I don't believe he was.                         25 business?
                                                                                            20 (Pages 77 to 80)

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 1                Marlow 9/16/13                                1                Marlow 9/16/13
 2       Q. Wait a minute.                                      2            Do you see that?
 3       A. I don't think I have a 99.                          3        A. Wait. Yes, I have that.
 4       Q. You're right. I don't think we talked               4        Q. Now, can you go to what will end up
 5   about that today. We'll -- I'll actually move to           5    being the last page of that exhibit, but the
 6   another one briefly, so we can get there.                  6    first e-mail that started the chain?
 7           Why don't you take a look at Exhibit               7        A. Hold on.
 8   34? And I think this is it right here in front             8        Q. Do you see that starting on the third
 9   of you.                                                         to the last page?
10       A. Yes.                                               0         A. Yes, the one that says, "As always, I
11       Q. Can you look on the disclaimer on that             1     want to stay compliant"?
12   document?                                                12         Q. Who is that from?
13       A. (The witness reviews the document.)               13         A. Anthony Thompson.
14       Q. Do you see that there's language in                 4        Q. To?
15   there that they may sell?                                15         A. To me and to Hank.
16       A. Yes, wait, wait, wait. I thought I                           Q. Okay. Do you mind just reading that?
17   had seen it before. Yes, I do. "May sell part            R7     You don't have to read it out loud into the
18   or all of any such shares."                              18     record, but just familiarize yourself with that.
19       Q. Are you familiar with that term "may               9         A. (The witness reviews the document.)
20   sell"?                                                    0     Okay. I'm familiar with it.
21       A. Yes.                                                         Q. What -- generally, if you can
22       Q. Do you know if that's language that               1p 2   characterize it, what was Mr. Thompson asking you
23   you reviewed, just that phrase?                            3    and Mr. Gracin in that e-mail?
24       A. I honestly don't recall reviewing the                4       A. He wanted to make sure he was doing
25   Recycle Tech documents at all.                              5   everything that somebody would have thought was
                                                         94                                                              96
 1                Marlow 9/16/13                                1                Marlow 9/16/13
 2           I do see something in one of my                    2    appropriate in accordance with the SEC
 3   timesheets though on Recycle Tech, but I don't             3    regulations on the promotions.
 4   believe we reviewed these.                                 4        Q. Okay. And what was the date of that
 5           I think it was something after the                 5    e-mail?
 6   fact later on, but I would believe, if you're                       A. That was February 21.
 7   asking me "may", to me, was the appropriate                 7       Q. Could you check your billing
 8   language.                                                   8   statement, that one from February 21, and see if
 9       Q. You're saying that right now. Is that                9   there's an entry in your billing statement for
10   something that you told Mr. Thompson, that you              0   that?
11   believed "may" was the appropriate language?                1       A. Okay. There is.
12       A. I believe that we would have told him                2       Q. What does it say there?
13   to use a forward looking statement as in "may,"             3       A. Hank Gracin has an entry.
14   as opposed to "will" because "will" was not true.           4       Q. Uh-huh.
15       Q. Okay. You mentioned your billing                  ft 5       A. "Reviewed and considered issues
16   statement.                                               Et 6   regarding promotional disclaimers in office
17           I want to, if I can, quickly get into               7   conference with Leslie Marlow," and I have
18   that with you, so can you keep your fmger on the         fl 8   "telephone conference with Hank Gracin regarding
19   billing statement --                                        9   disclosure."
20       A. Yes.                                              20         Q. So did you discuss Mr. Thompson's
21       Q. -- for what you did in February?                     1   e-mail with Mr. Gracin?
22       A. Okay.                                             22         A. I assume I did.
23       Q. But there's an e-mail that you were                  3       Q. And the next day, is there an entry
24   also shown, Exhibit 105, I believe it's an e-mail        24     from you the next day as well?
25   somewhere in the February 21, 22 time frame.             P5         A. Yes, there is.
                                                                                               24 (Pages 93 to 96)

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                                                     1011                                                         103
 1                Marlow 9/16/13                              1                Marlow 9/16/13
 2   received for that particular promotion.                  2    exact quote from your earlier testimony, but I
 3       Q. Is the general website disclaimer                      believe when you were discussing it with
 4   longer?                                                       Ms. Nestor, you said that the important thing is
 5       A. I believe it is.                                  5    that the public know there was the possibility
 6       Q. Okay.                                             6    that stock could be sold at the time there was a
 7       A. I believe it is.                                  7   promotion.
 8       Q. Did you at some point have                        8        A. Okay, yes.
 9   conversations with Mr. Thompson, even text               9        Q. Why do you say that?
10   messages, using text messages --                         0        A. I think I would like to rephrase that.
11       A. Yes, I recall having a conversation             111   To me, the important thing, again, is that the
L2   like that.                                                   public know, even if it's not stock, that
L3       Q. And the disclaimers that would be                     somebody is compensated, and that they're biased
14   required there?                                              because that tells me that this is a paid
L5       A. I vaguely recall that, yes.                           promotion and that somebody is showing you one
16       Q. Would those be even shorter than the           16     side of things, basically.
17   e-mails?                                              b- 7        Q. Did you tell Mr. Thompson that that
L8       A. Yes, it was almost impossible to have          h- 8   was the important thing in a disclosure?
L9   a full disclosure because the text message won't      0-9         A. I am assuming yes. That would have
20   allow you to have more than a certain amount of       20     been something we had discussed.
21   characters or whatever it is.                         pi             I can't guarantee I did. I don't
22       Q. Did you discuss doing a link to the            22     remember specifically but, again, I can analogize
23   website disclaimer?                                   23     it to the analyst report for a public company,
24       A. Yes.                                           24     and it's the same thing.
25       Q. In your opinion in that regard, did            25             If the analyst is paid for, if you
                                                     102                                                         104
 1               Marlow 9/16/13                              1                  Marlow 9/16/13
 2   you discuss with Mr. Thompson about whether             2    have corrected the report, if you've had anything
 3   linking to a full disclaimer was something that         3    to do with the report, which is why public
 4   was appropriate to do?                                  4    companies don't touch those reports, it loses its
 5       A. In my mind, it would have been better            5    meaning.
 6   than not doing anything.                                6            It's the same issue here.
 7       Q. True. What about with e-mails?                             Q. The advice that you gave Mr. Thompson,
 8           I believe, when you looked at Exhibit          8     you gave him some by e-mail.
 9   34, you said that there was a link to the general      9             Is that right?
10   website disclaimer in the Recycle Tech --             10          A. Yes.
11       A. Correct.                                       11          Q. And also some by phone?
12       Q. -- disclaimer?                                  2          A. A lot by phone.
13       A. Correct.                                       R3          Q. Which would you say was more, verbal
14       Q. Did you talk to Mr. Thompson about                    advice or written?
15   that practice?                                        25         A. Verbal, probably.
16       A. I don't recall specifically having                6        Q. And do you have a record of all of the
17   that conversation about that.                         h- 7   advice you gave him?
18          I'm assuming we did have a                     18         A. Other than my time records, possibly
19   conversation because there's always a link there,        9   not.
                                                           11
20   so, again, he might have had that the whole           20             I mean, I can remember getting phone
21   time --                                               •21    calls while my kids were competing in Junior
22       Q. Okay.                                           2     Olympics or taking them, but my phone could be
23       A. -- before I was even involved.                  3     ringing -- if it's a Saturday or Sunday, and I'm
24       Q. As to that disclaimer on Exhibit 34, I          4     not in the office, I don't end up billing the
25   took it down in my notes. This may not be an          25     clients, but I might give the advice away anyway.
                                                                                         26 (Pages 101 to 104)

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                                                       105                                                            107
 1                Marlow 9/16/13                                               leXariow 9/16111
 2        Q. So there's even more advice than                                      recollectiOn,..We tattlittriMail
 3    what's reflected in your timesheets to                        MI a deal he should get involved in and he. (Id
 4    Mr. Thompson?                                                 not attaidonlmcall:Aby.ILtaatielLow
 5        A. Absolutely. I'm known for not billing
 6    my time.                                                              Theraist......aprob
 7        Q. It looks like you had a couple of                      cacti on.
 8    phone calls on February 22 with Mr. Thompson. I                       MR. WASHBURN: All right. Off the
 9    may be misreading your billing records.                          record.
10        A. You might be right because my                                  (Off-the-record discussion.)
11    recollection is that that was about the time of                       M.R. WASHBURN: That's all we have.
12    Junior Olympics, and my kids were both                 0_2            MR. SALLAH: I don't have any
13    competitive swimmers.                                  11 3      questions. Thank you.
14            So that would have been around the             114            MS. NESTOR: I have a few follow-up.
15    time. I remember having to step out of their           15        Just give me a second.
16    event to take calls.                                   16             (Exhibit 113, E-mails, Bates Nos. OTC •
17        Q. And on that February 22, it sounds              n7     7 through 13, is received and marked for
18    like by, at least by reading your records, at          0_8    identification.)
19    least one of them was about SEC enforcement and        P- 9   EXAMINATION BY MS. NESTOR:
20    disclosures and you talked about that with             'RO        Q. Ms. Marlow, I'm going to show you what
21    Mr. Thompson?                                            1    we've marked as Exhibit 113.
22        A. That might have been just the research          k2         A. (The witness reviews the document.)
23    being done. I assume that's correct, yes,              23     Okay.
24    "telephone call regarding research firms."             P4         Q. And Exhibit 113 is a series of text
25           I'm not sure if that was the SEC                       documents which include e-mails, and you're a
                                                      106                                                             108
  1                 Marlow 9/16/13                           1                     Marlow 9/16/13
  2    enforcement or other firms. I'm not really sure.      2        participant in some of those e-mails with Joseph
  3         Q. Just so we're clear here, going back          3        Kay at Belmont Partners, as well as
  4    to Exhibit 105, that kind of series and phone         4        otcsolutionsllc@gmail.com, Hank Gracin and
  5    calls on the same date he issued that Recycle         5        Christy Grzan, and there's a Bates stamp of OTC 7
  6    Tech newsletter, did that start because of his        6        through 13.
  7    e-mail that says: "As always, I want to stay          7               Do you see that?
  8    compliant with the SEC regs regarding                 8            A. Yes, I do.
  9    disclosure"?                                                       Q. :And you were just telling Mr. Washburn
 10         A. I assume so, yes.                            -o-     iabout their being a shell that Mr. Thompson w.
 11         Q. Okay.                                       11        thinking about purchasing, and do you. recall
,16         A. As you can see from early on, and now         2       looking at these documents -- if you can turn..10
       it's coming back to me a little bit more, he was      3       the last page number 13; ;,whether the shell was
       going to buy a company. That's how we met him.     . 4       recycle Tech?
      iEWe.weren't meeting him to do this.               15               A. It's appears that it was, and that's
               As Irecall, he was buying a companyk.      i16        probably why I don't remember these hergani.
      '10:611:1 met Anthony.                             Li7         looked at, because I don't believe I•di4
                 Okay. Let manninftifkal saidheaVan!     .118             Q. Exhibit 34 through 37?
      !jawing a company.                                  0_9            A. Yes, and the entry would relate tei'
               Do you know when that would have beent 20:           Ibis, which, again, it wouldn't have been
            A. That would have been January, when we..              firmportant to me or I wouldn't have recalled the
         rst met him and he was,goinglo buy Smajpoko                   ompany.
      dike a shell as I recall,                                              I remember that he first came to us
24          Q. Do you knowifftever did buy that'                     ftcause he was going to buy a piece of a shellt
25     shell?                                            25                  I don't recall why he didn't buy it,
                                                                                            27 (Pages 105 to 108)

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                   Marlow 9/16/13                            1                Marlow 9/16/13
 2    but I recall that we told him -- it was some           2    thinking maybe we didn't search symbols, I don't
 3    reason, whatever he wanted to effectuate,              3    believe.
 4   • possibly, there wasn't enough stock, as I'm           4         Q. The R-C-Y-T?
 5    recalling, for him to really control the company       5        A. Uh-huh. Wait a minute. Actually, the
      or whatever it would be and he didn't do the           6    only other -- no, because it asked for -- can I
      transaction.                                           7    see the subpoena for a minute?
           Q. So it's possible that the letter that          8        Q. Sure. It's right here.
     ;110u drafted on February 22, 2010 regarding            9        A. Unless it got thrown out because it
      Recycle Tech related to the potential .purehaSell      0    did not relate to disclaimers. Is that possible?
      Mr. Thompson of the shell, Recycle Tech?                        Q. You're referring to the subpoena
           A. Correct.                                    i1 2    marked as Exhibit 110?
           Q. Do you know why we haverttreteived          0- 3        A. Yes, uh-huh, the only possibility I
     •from. your office a letter regarding RecycltIOCh    114     could think of, and I can ask Christy and the
      in the production that you produced?                15      computer people, is that this did not relate to
           A. That's what I'm wondering right'            16      promos of Recycle Tech, so it was not within the
      also. I have no idea why.                              7    scope in my mind.
           Q. Is there any reason why the letter                         This relates to a purchase of a shell
     what's referenced in Exhibit 107 wasnlproducedil             that was not a promotion.
     IQ us?                                                           Q. And for right now, I'm just asking
          A. "No, I don't know why. 1 will call 'iv       121     you -- Mr. Washburn had asked you some questions
     :tech people immediately and have them do                    that elicited a response from you that you
         arch.                                            L3      remember there being a shell, and that triggered
                                                          I
24         Q. Exhibit 107, the billing entry              24      me to show you the document 113 to determine
25    references drafting a letter regarding Recycle              whether that shell was, in fact, Recycle Tech.
                                                    110                                                          112
 1             Marlow 9/16/13                                                 Marlow 9/16/13
 2   Tech.                                                             A. It appears that it was.
 3           Do you know whether a letter was                          Q. And, Ms. Marlow -- whenever you're
 4   drafted and perhaps not sent?                           4    ready, I have a question not related to that
 5        A. Probably it wasn't sent because I               5    exhibit.
 6   think the deal died, so I have a feeling it was         6         A. It's bothering me.
 7   never sent, but I don't understand why these            7         Q. Do you know when OTC Solutions sold
 8   didn't show up in a search, and my computer          [8      the stock of the issuers that it was promoting?
 9   people will tell you they searched Recycle Tech.      9           A. I'm sorry. I'm not sure I understand.
10        Q. And when you say these, you're                  0         Q. Do you know when they were selling the
11   referring to the documents marked as Exhibit 113?    11 11   stock of the issuers that they were promoting?
12        A. I don't understand that. Wait a               L2          A. I have no idea.
13   minute. Some of those don't mention Recycle          113          Q. And did Mr. Thompson or OTC Solutions
14   Tech, so the possibility is if they don't have a      114    ever provide you with any documentation showing
15   name in them --                                          5   when he or his company was selling the stock that
16        Q. Look at OTC 12, the Bates stamp.               6     he was promoting?
17        A. Okay. Hold on.                                  7         A. I don't recall. Again, I don't want
18        Q. It appears to reference three                        to say anything anymore because I thought I had
19   attachments, and one of the attachments is           119     all the documentation.
20   titled, "Escrow Agreement, Recycle Tech Doc?"        20           Q. Do you have any specific recollection
21        A. I don't understand why they didn't           21      of having discussions with Mr. Thompson regarding
22   appear.                                                      the use of the word "may" in his disclaimers?
23        Q. And Ms. Marlow --                              3          A. Again, my memory is vague on this, but
24        A. The only thing I'm thinking -- well,         24      "may" is a word that we would have used because
25   that was the name Recycle Tech, too, because I'm     25      "will" would not have been correct and I would
                                                                                         ..nimildita gang:Wan_

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                                                   113                                                        115
 1              Marlow 9/16/13                        '1                    Marlow 9/16/13
 2   have pushed for a full statement.                    2    was running a promotion --
 3           From reviewing millions of questions         3         A. I assume he was selling at some point,
 4   almost on a daily basis, I would never use           4    but I don't think that was relevant because he
 5   "will."                                              5    told people he owned stock and he might sell,
 6       Q. My question is, do you recall having          6    but, to me, you've told the public what you're
 7   any discussions or communications with               7    doing.
 8   Mr. Thompson or OTC Solutions about the use of       8            You've put everybody on notice. I'm
 9   the word "may"?                                      9    not unbiased. I've got a conflict. Even if he
10      A. My vague recollection is yes, because               didn't get the stock and he had cash, he was
                                                      1
11   my vague recollection is something about him not 11 1     biased in my mind, and you put people on notice
12   always selling some of the stock and wanting to   IL2     that somebody paid me to put this promotion out
13   keep some of it because he truly believed in the  P- 3    basically, and the fact that I have stock and I
14   companies and to make sure that, you know, the       4    might sell or I am selling it is irrelevant.
15   promotions were running properly.                                 I've warned you. You're aware that
16       Q. Do you know whether he kept any of the    116      that could happen. So I don't know that I ever
17   Recycle Tech stock?                              17       really cared that much as to when he was actually
18      A. I have no idea.                            l8       selling.
19          MS. NESTOR: I don't have anything
20     else.                                          20
21          MR. WASHBURN: Just one quick              21
22     follow-up.                                     22
23   EXAMINATION BY MR. WASHBURN:                     23
24       Q. Ms. Nestor asked you if you knew          24
25   whether they were selling stock during the       25
                                                  114                                                         116
 1               Marlow 9/16/13                           1             Marlow 9/16/13
 2   promotion.                                          :2         MR. WASHBURN: That's all I have.
 3          Can you look at Exhibit 105? It's             3         THE WITNESS: I mean, my 15-year-old
 4   right there in front of you.                         4      would understand that, you know.
 5       A. Yes.                                          5         MR. WASHBURN: That's all I have.
 6       Q. And the second page of it, there's an         6         MS. NESTOR: That's all. Thank you.
 7   e-mail from Mr. Thompson to Hank Gracin, cc'ing      7         (The witness is excused at 12:25 p.m.)
 8   you, on February 21, 2010 --                         8
 9      A. Uh-huh.                                         9
10       Q. -- the day before the Recycle Tech          10
11   promotion.                                         11     LESLIE MARLOW
12      A. Yes.                                         L2     Subscribed and sworn to before me
13           Could you read the first sentence of       11_3   this    day
14   that?                                              14     of           , 2013
15      A. "When we profile a company"?                 1L5
16      Q. Yes.                                         116
17      A. "When we profile a company, obviously,       11_7
18   we are selling because we were paid to bring       I8
19   awareness to it. We never ever say to buy
20   anything, and like I said, we choose our words     20
                                                          9
21   very carefully."                                   21
22          Do you want me to keep going?               22
23      Q. No, I think that will do it.                 23
24          Based on that, did you have any             24
25   understanding of whether he was selling when he    ?5
                                                                                      29 (Pages 113 to 116)
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 1            Marlow 9/16/13                               1            Marlow 9/16/13
 2          CERTIFICATE                                              DEPOSITION ERRATA SHEET
 3                                                         3
 4   STATE OF NEW YORK)                                       Page No.     Line No.        Change to:
 5       : Ss.                                            5
 6   COUNTY OF NEW YORK)                                  6 Reason for change:
 7          L MARY VAN DINA, a Notary Public              7
 8   within and for the State of New York, do hereby      8 Page No.       Line No.        Change to:
 9 certify:                                               9
              That LESLIE MARLOW, the witness          10 Reason for change:
 1   whose deposition is hereinbefore set                 1
12   forth, was duly sworn by me and that              12 Page No.         Line No.        Change to:
13   such deposition is a true record of the              3
14   testimony given by the witness.                   11 4 Reason for change:
15            I further certify that I am not           15
16   related to any of the parties to this             11 6 Page No.       Line No.        Change to:
17   action by blood or marriage, and that I           17
L8   am in no way interested in the outcome               8 Reason for change:
19   of this matter.                                      9
20           IN WITNESS WHEREOF, I have                12 0 Page No.       Line No.        Change to:
21   hereunto set my hand this 16th day of             21
22   September 2013.                                   2 2 Reason for change:
J3                                                     P3
24                                                     24
25                Mary G. Van Dina                     25      SIGNATURE:                          DALE:
                                                    118.                                                   120
 1            Marlow 9/16/13                           i 1                Marlow 9/16/13
 2         DEPOSITION ERRATA SHEET                             Page No.      Line No.      Change to:
 3                                                         3
 4   Case Caption: In Re: SEC v. Recycle Tech              4   Reason for change:
 5
                                                           5
 6      DECLARATION UNDER PENALTY OF PERJURY
                                                           6   Page No.      Line No.      Change to:
 7       I declare under penalty of perjury
 8   that I have read the entire transcript of my          7
 9   deposition taken in the captioned matter or               Reason for change:
10   the same has been read to me, and the same is       9
11   true and accurate, save and except for            10      Page No.      Line No.      Change to:
12   changes and/or corrections, if any, as            111
13   indicated by me on the DEPOSITION ERRATA          12      Reason for change:
14   SHEET hereof, with the understanding that I       113
15   offer these changes as if still under oath.       1114    Page No.      Line No.      Change to:
16
17                                                        5
                                                       1
18         LESLIE MARLOW                               [16     Reason for change:
           Subscribed and sworn to on the              117
19         day of              , 2013, before me,      118     Page No.      Line No.      Change to:
20                                                     119
           Notary Public,                                 0    Reason for change:
21         in and for the State of                       21
                                                          2    Page No.      Line No.      Change to:
22
23                                                     P3
24                                                     24      Reason for change:
25                                                     125     SIGNATURE:                          DATE:
                                                                                        30 (Pages 117 to 120)

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         Forwarded message
From: Anthony Thompson <otcsolutionsllc,gmail.com>
Date: Sun, Feb 21, 2010 at 11:13 AM
Subject; Disclosure requirements....
To: Hank Gracin <HGracin@gracinmarlow.cora>, LMarlow <LMarlow,gacinrciarlow.com>


Leslie and Hank,

As always I want to stay compliant with SEC regs regarding disclosure. Do you think we are
taking the neccassary steps? We are disclaiming all compensation in emails and on our webste
while many sites simply disclose in their emails. We are not doing work with any pink sheets so
as to only deal with fully reporting companies. We are keeping logs of our due diligence on the
companies and sectors they are in.

I stay up at night sometimes wondering if we are doing enough. I feel like we are and I feel like
we do more than our competitors. The biggest emailer out there right now is a 23 year old kid
who I was told just made $7 mill on a stock PEPR that didn't do so well. I looked at his email
disclaimer and he indicated he was paid $50,000 on SKTO, not even the right company. To me I
see that kind of behavior and I think to myself, that kid is going to get smoked!

I have been searching articles and found a bunch. This one shows these guys were not disclosing
properly. I looked on their site and still do not see actual compensation disclaimers on their site
like I have:

hap ://www.thestreet. com/story/10613318/cel-sci-stockpromoter-has-troubled-s ec-p ast.html

httlo://www.smalleapnetwork.com/Disclaimer/s/page/view/p/mid/l/icV2/

We do not tell investors to buy or that we think the stock is a buy or anything like that. We
choose our words carefully. Obviously people can find fault in anything, I rely on both of your
counsel in these matters.

Here are some of my main competitors;

www.bestdamnpennystocks.com
www.pennypic. corn
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www.titan.stocks.com
www.secretpennystocks.com
www.awesomepennystocks.com

Here are my four sites that seem to diclose far more:

www.oxofwallstreet.com
www.killerpennystocks.com
www.freeinvestmentreport.cona
www.explicitpicks.com

Every single subscriber we have is an opt in or double opt in.


Anthony J. Thompson Jr.
Managing Director
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From: Anthony Thompson [mailto:otcsolutionslIcgmail.corn]
Sent: Thursday, March 25, 2010 1:41 PM
To: BBakeraparsonsbehle.com; Leslie Marlow; Eric Van Nguyen; otcbb
Subject: Site Disclaimers

Brent,

As we discussed yesterday, I would appreciate it if you could review our site disclaimers for Eric,
Jay and myself. Below are three of our many sites, please take a look and let me know if you
think they are strong enough or if we need to make additions.

Jay's site:
http://www.pennypic.com/disclaimer.html

Eric's site:
httT://wvvw.titanstocks.com/disclaimer.php

My site:
http://www.freeinvestmentreport.com/content/disclaimer

Many thanks,

Anthony J. Thompson Jr.
Managing Director
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From: Anthony Thompson <otcsolutionslic@gmail.com>
Date: Mon, May 3, 2010 at 8:35 AM
Subject: Re: Website Disclaimer
To: "Taylor, Elliott" <ETaylor@parsonsbehle.com>
Cc: Leslie Marlow <LMarlow@gracinmarlow.com>, "Baker, Brent" <
BBaker@parsonsbehle.com>, Hank Gracin <HGracingracinmarlow.com>, Christy Grzan <
Cgrzana,gracinmarlow.com>, otcbb <otcbb@comcast.net>, Eric Van Nguyen <
nguyen eric@hotmail.com>


Do we need something saying that not all the stock symbols on the site are from past picks but
rather they show the upside of micro and small cap stocks?

Also, is this the version we should incorporate now? If so, we will have our sign up link
connected to it so future sign ups click agree or disagree

On Fri, Apr 30, 2010 at 6:56 PM, Taylor, Elliott <ETayloraparsonsbehle.com> wrote:
 Leslie: The revisions look good. I made a small revisions which is indicated in the attached document.
 I moved a sentence down into the paragraph regarding third-party web links, etc. The sentence seemed
 misplaced, and more appropriate where relocated in the document.



  Have a good weekend.



  Elliott

  Elliott N. Taylor

 Parson Behle & Latimer

 201 S. Main, Ste 1800

 Salt Lake City UT 84111
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P 0 Box 45898

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Phone: (801) 532-1234

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From: Leslie Marlow [mailto:LMarlowAgracinmarlow.com]
Sent: Friday, April 30, 2010 8:48 AM
To: Baker, Brent; Taylor, Elliott
Cc: Anthony Thompson; Hank Gracin; Christy Grzan
Subject:




Attached is a clean and marked copy of the disclaimers. Please let me have any comments that you may have.




I have left messages for each of you. Please call me asap to discuss moving forward with the litigation. Thanks.




Leslie Marlow
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                   UNITED STATES SECURITIES AND EXCHANGE COMMISSION



        In the Matter of:                         [!9COPY
                                               File No.: FL-03559-A

        RECYCLE TECH, INC.



        WITNESS:     Anthony J. Thompson

        PAGES:       1 through 161

        PLACE:       801 Brickell Avenue
                     Suite .1800
                     Miami, Florida 33131

        DATE:        February 10th, 2011



                The above-entitled matter came on for hearing, pursuant

        notice, at. 10:00 a.rn.




                   Diversified Reporting Services, Inc.

                              (202) 467-9200
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                                                                Page 2
    1    APPEARANCES:

    2

    3    On behalf of the Securities and Exchange Commission
    4          ELIZABETH FATOVICH, ESQ.

    5          Division of Enforcement:

    6          SecuriLies and Exchange Commission

    7          801 Brickell Avenue, Suite 1800

    8          Miami, Florida 33131

    9

  10     On behalf of the Witness:

  11           BRENT R. RAKER, ESQ.

  12           Parsons Rehle & Latimer

  13           201 South Main Street, Suite 1800

  14           Salt Lake City, Utah        84111

  15

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                                                                Page 63
                Q      Have you spoken to him regarding this

   2    investigation?

    3        A         No.

                Q      You said he was attempting to call you. Do you

   5    know why?

             A         I don't know whether    I don't know the answer to

   7    that.       I mean, whether he had a client that wanted to hire

   8    me or -- I couldn't tell. you.

             Q         When was the last time you spoke to Mr. Sepe?

  10            A      Again, it's been -- it's been months, a month, two

  11    months, three months.

  12         Q         Did he ever talk to you or did you ever talk with

  13    him regarding this SEC investigation?

  14         A         No.

  15         Q         Before he engaged OTC Solutions for the marketing

  16    campaign for Recycle Tech Company, had he ever engaged OTC

  17    Solutions or your services for any other marketing campaign?

  18         A         Yes.

  19         Q        Which one?

  20         A         BlueGem.

  21         Q         Is that one word?

  22            A      I believe so.

  23         Q         Is it BlueGem Enterprises?

  24         A         I believe so.

  25         Q         And when was that?
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                                                                 Page 64

       1        A    I can't give you     I don't know the date.

       2        Q    2009?

       3        A    I would say 2009 sounds accurate.

       4        Q    And Mr. Sepe engaged your company to do a

       5 marketing campaign for BlueGem?

       6        A    That's correct.

       7        Q    And did your company do such a marketing campaign?

                A    Yes.

               Q     Consisting of newsletters?

  10            A    That's correct.

  11            Q    To the various database Emails?

  12            A    I'm sorry?

  13            Q    Did newsletters go out to the various database

   14      Emails?

  15            A    Yes.

  16            Q    How many Emails are in your databases?

  17            A    I don't know the answer to that. It changes every

  18 day. You have people unsubscribing. You have people who

  19       subscribe. So I couldn't give you an answer.

  20            Q    How about a range?

  21            A    Over a hundred thousand.

  .22           Q    Is that throughout 2009, over a hundred thousand?

  23            A    2010?

  2'I           Q    2009.

   2            A    2009, I have no idea.
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                                                              Page 65
    1         Q    You don't remember. And so your number of over

    2   hundred thousand, that's for 2010?

    3         A    Yes.

    4         Q    Okay. So going back to BlueGem, which was in

    5   2009, did you receive shares of BlueGem from Mr. Sepe?

    6         A    Yes.

   7          Q    So you were compensated for your marketing

        campaign with BlueGem shares?

              A    Yes.

  10          Q    Do you remember how many?

  11          A    I do not.

  12          Q    Over two million?

  13          A    I --

  14          Q    Can't remember?

  15          A    -- do not remember.

  16          Q    Do you remember selling those shares?

  17          A    Yes.

  18          Q    You did?

  19          A    Yes.

  20          Q    And OTC issued newsletters regarding BlueGem

  21    during that time period of 2009?

  22          A    Yes.

  23          Q    Was that a one-week agreement as well?

  24          A    I don't know.

  25          Q    In addition to BlueGem, other than BlueGem, any
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                                                              Page 66
    1 other marketing campaigns for Mr. Sepe?

    2         A    Yes.

    3         Q    What marketing campaigns?

    '1        A    Mass Hysteria.

    5         Q    So OTC did a marketing campaign for Mass Hysteria?

    6         A    Yes.

   7          Q    Engaged by Mr. Sepe?

    8         A    Yes.

                   And that marking campaign, again, involves sending

  10     out newsletters?

              A    That's correct.

  :12         Q    And how much was OTC paid?

  13          A    Do not remember.

  14          Q    Was it in stock?

  15          A    I do not remember.

  16          Q    You don't remember the stock --

  17          A    No, do not remember.

   .8         Q    When was that, Mass Hysteria?

  19          A    I believe 2009.

  20          Q    Does the name Daniel Grodnik sound familiar to

  21 you?

  22          A    Yes.

  23          Q    Why does that sound familiar?

  24          A    CEO of Mass Hysteria.

  25          Q    Did you ever speak to Mr. Grodnik?
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                                                               Page 67
    1        A       Yes.

   2         Q       What'd you speak to him about?

   3         A       About. his -- about his idea for. Mass Hysteria.

   4    Also, just spoke to him regarding his -- his previous

   5    industry experience. He was CEO of National Lampoon's,

   6    which was, obviously, a big comedy outfit that did a lot of

   7    comedy movies, and C know that he had done over forty major

   8    motion pictures.

   9         Q       What about the name Hanna Schmieder, sound

  1.0   familiar?

  11         A       Yes.

  12         Q       In what capacity?

  13         A       Involved with Lyric Jeans.

  14         Q       Did you do a campaign for Lyric Jeans?

  15         A       Yes, 1 did.

  16         Q       You did a campaign for Lyric Jeans?

  17         A       Yes.

  18         Q       Was that requested by Mr. Sepe?

  19         A       Yes, it was.

  20         Q       And did Mr. Sepe compensate you?

  21         A       I was compensated. He was the one who hired me.

  22    So the answer is, he was the one who hired me, so, yeah, I

  23    would say,    yes, he compensated me.

  24         Q       Do you remember whether it was stock or money?

  25         A       I believe it was stock on Lyric Jeans.
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                                                               Page 68
                   And when was that promotion?

   2         A     I do not know the answer to that.

   3         Q     Was it in -- between at least 2008 and current?

   4         A     Yes.

   5         Q     So Recycle Tech, BlueGem, Mass Hysteria and Lyric

   6    Jeans. Did you do any other marketing campaigns in addition

   -/   to these for Mr. Sepe?

   8         A     There was companies early in my career when OTC

   9    had not built a database where I, basically, was a conduit.

  10 OTC was, basically, a third party that would go out and help

  11    locate newsletter providers for people. And there was, I

  12    believe, two companies that Mr. Sepe had asked me to help

  13    him with back then.

                   And for those two companies, OTC acted as a

  15    conduit?

  16         A     That's correct.

  17         Q     In other words, OTC did not issue its own

  18    newsletters?

  19         A     That's correct.

  20         Q     It contacted a third parties to issue their

  21    newsletters?

  22         A     It bridged the two sides.   This newsletter

  23    provider with Mr. Sepe as the hiring party.

  24         Q     And which were the two companies?

  25         A     HydroGenetics and Xynergy Holdings.
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    1        Q     And these are Mr. Sepe's companies?

    2        A       I don't know that they're his companies. I know

    3   he's involved with those companies.

    4        Q     But you don't know his involvement in those

        companies?

    6        A       I don't.

    7        Q    Do you know his involvement in Recycle Tech?

             A       His involvement in Recycle Tech, T think he was

    9   friends with the CEO of the company.

  10         Q     So he contacted you, from your understanding, as

  11    the friend of the CEO?

  12         A     That's correct.

  13         Q     Other than Mr. Gonzalez, I think you mentioned you

  14    spoke to him regarding Recycle Tech, did you speak to

  15    anybody else at Recycle Tech about Recycle Tech?

  16         A     Not that I recall.

  17         Q    Did you ever speak to a Liza Santana?

  18         A     I don't recall that name.

  19         Q    Ever speak to Clara del Sol?

  20         A    I don't recall that name.

  21         Q    Let me show you a document that had been

  22    previously Bates stamped Exhibit 22. Exhibit 22, which is

  23    in front of you, is a four-page document consisting of a

  24    three-page letter on Vincent and Rees letterhead dated

  25    January 29th, 2010 addressed to X-Clearing Corporation
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                                                                  Page 70
          regarding 144 Opinion - Removal of Restricted Legend,

     2    issuer, Recycle Tech, Inc. It signed David M. Rees,

     3 R-E-E-S. With Exhibit A attached.

                      If you could review the document. Let me know

          when you're ready to proceed.

               A      I'm ready.

     7         Q      Have you seen this document before today?

               A      Yes, I have.

     9         Q      When was that?

  10           A      January 29th.

                      Around the date

  12           A      Around the time it was issued.

  13           Q      Your attorney pointed to that date; otherwise, you

  ]. 11   wouldn't remember the date itself?

  15           A      I do. It was around the time that I was hired for

  16      Recycle Tech.

  1J          Q       And when you were hired for Recycle Tech?

  18          A       Around the end of January, early February.

  19          Q       Of 2010?

  20          A       That's correct.

    :1.       Q       You mentioned Mr. Sepe -- I think you mentioned,

  22      so correct me if I'm wrong, that Mr. Sepe gave you a

  23 timeframe, a starting date for when to start the marketing

  21      campaign?

  25          A       He told us when he'd like us to start.
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             Q    Turning to the last page of the exhibit, there's a

    2   series of names titled under, the shareholder name, number

        of shares, number of certificates. I'd like to ask you

    4   whether you're familiar with any of these names.

    5              The first one is Liza Santana. I think you

    6   mentioned you're not familiar with the name.

    7             How about the name Howard Berg?

             A    No, ma'am.

                  Steven Mayer?

  :10        A    No, ma'am.

   11        Q    Dan Grodnik is the next one, G-R-O-D-N-I-K. And

  12    you mentioned he's linked to Mass Hysteria?

  13         A    Yes, ma'am.

  14         Q    And you spoke a few times regarding his company?
  1'         A    Yes, ma'am.

  16         Q    Anything else about him?

  17         A    No.

  18         Q    This Vincent and Rees letter appears to me to be

  19    an opinion letter removing the restriction of the legend.

  20    Is that your understanding of the letter?

  21         A    Yes, ma'am.

  22         Q    And in Exhibit A, there's a list of shareholder

  23    names. So it appears to me that this is a list of

  24    shareholders. Is that your understanding?

  25         A    Yes, ma'am.
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                                                              Page 72
             •     Do you know why Mr. Grodnik is receiving eight

        hundred thousand shares of Recycle Tech?

    3        A     I couldn't tell you.

    4        Q     You don't know?

             A     No.

             Q     Are you familiar with the name Raymond Buchanan?

    7        A     I am familiar. Ray Buchanan, actually, is a

        former NFL player. And I remembered Kevin Sepe telling me

    9 that Ray Buchanan was a former NFL player who was one of his

   i0   buddies.

  Ii         Q     Do you remember which team he played for? That's

  12    just an aside.

  13         A     I believe the Atlanta Falcons. I'm pretty sure.

    4        Q     Okay. That's not -- I'm just -- to get a better

  15    sense of --

  16               MR. BAKER: You're dead now.

  17               MS. FATOVICH: No. No.

  18               BY MS. FATOVICH:

  19         Q     So Ray Buchanan, you understand is a friend -- a

  20 buddy of Sepe?

  21         A     Yes.

  22               Do you know anything else about him?

  23         A     No.

  24         Q     Ever communicated with him or anything? No.

  25               Okay. Do you know why he would receive two
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   1 million shares three hundred seventy-five thousand?

    2        A      No, I don't.

             Q      The name Ronny Halperin, you know him as the

        attorney for Recycle Tech?
    5        A      Yeah. And a friend of Kevin Sepe's.

             Q      Do you know why he's receiving on this paper two

   7 million four seventy-five thousand shares?

   8         A      No, I don't.

             •      How about the Kenneth Oxsalida, O-X-S-A-L-I-D-A?

             A      A friend of Kevin Sepe's.

  11         Q      Do you know why he's receiving those shares?

  11         A      No, I don't.

  13         Q      Does he work with Mr. Sepe?

             A      I believe he does. I don't know if he still does,

        but he was -- worked for him, I believe.

  16         Q      For which company?

  17         A      I believe Dynamic Response Group.

  18         Q      Did you do a marketing campaign for Dynamic

  19    Response?

  20         A      I believe we did.

  21         Q      Okay. Were you paid in stock?

  22         A      I don't remember.

  23         Q      And was that -- were you hired by Mr. Sepe for

  24    that as well?

             A      Yes.
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                                                              Page 74
             •    And was that at least since 2008, prior to 2008,

   2    do you remember?

   3         A    I don't remember.

   4         Q    Was it in the last five years?

   5         A    Yeah.

   6         Q    Yes?

   7         A    Yes.

   8         Q    Hanna Schmieder, I asked you about her before.

   cJ Other than what you mentioned about her, anything else about

  10 her?

  11         A    No.

  1.2        Q    Joseph Dervali,

  13         A    No.

  14         Q    Christopher Balseiro, B-A-L-S-E-I-R-0?

  15         A    I believe he'srelated to Kevin Sepe.

  16         Q    In what capacity?

  17         A    I couldn't tell you what capacity.

  i 8        Q    Howard Ettleman?

  19         A    Don't know.

  20         Q    Back to Balseiro, does he work with Kevin?

  21         A    I don't know.

  22         Q    Howard Ettleman, you said you don't know, correct?

  23         A    That's correct.

  24         Q    Robert Friedopfer, F-R-I-E-D-O-P-F-E-P?

  25         A    Name sounds familiar. I believe he works with
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                                                               Page 77
             Q      From Mr. Fung and Mr. Van Nguyen?

    2        A      Yes.

    3        Q      How long have you known Mr. Fung and Mr. Van

    4   Nguyen?

             A      A couple years.

    6        Q      Separating them out. How did you meet Mr. Fung?

             A      Just through a friend of a friend.    I can't even

    8   remember how. It's been a while.

    9        Q      You met him socially? You met him in a work

  10 context?

  fl         A      Probably a work context.   I was -- in a work

  12    context.

  13         Q      And how many campaigns have you run simultaneously

  14    with him, for example, in 2010?

  15         A      Ten.

  16         Q      And with Mr. Van Nguyen, how many campaigns have

  17    you run with Mr. Van Nguyen in 2010?

  18         A      Ten, twelve.

  19         Q      And how do yOu know Mr. Van Nguyen?

  20         A      Again, I was introduced to him through industry

  21    contacts.

  22         Q      Are these the same contacts who introduced you to

  23    Mr. Fung?

  26         A      Probably not.

  25         Q      Do you remember who these various different
Case
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                                                             Page 111
         them, is that you would consider profiling?

    2         A     That would be a profile.

    3         Q     Okay. Did you, in 2010, put any of your links to

    4    newsletters or literarily copies of your newsletters on the

         different websites?

    6         A     No.

              Q     No?

                    I don't believe so.

    9         Q     Okay. Are you familiar or have you ever heard of

  .1.0   the name Belmont Partners?

              A     Yes, I have.

  12          Q     In what capacity?

  13          A     Belmont Partners, to my understanding, was a

  :14    they were a funding company, did a lot of funding of

         publicly traded companies, AMEX, NASDAQ, Bulletin Board,

  16     and, also, were selling vehicles, pink sheets, Bulletin

  17     Board, AMEX, vehicles, doing a lot of work with reverse

  i8     mergers.

  19          Q     And how did you first became aware of Belmont

  20 Partners?

  21          A     I believe through Kevin Sepe.

  22          Q     And did he introduce you to Joseph Meuse?

  23          A     He did. He had Joseph Meuse call me.

  24          Q     Joseph Meuse is the president of Belmont Partners

  25     and officer?
Case
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                                                               Page 112
      1         A      I believe he was the president, president CEO

      2   something, the head honcho.

      3         Q      And Sepe had Mr. Meuse call you?

                       Yes.

      5         Q      And he called you before the whole Recycle Tech

      6   campaign?

      7         A      I would       yes. Yes.

      8         Q      Early 2010?

      9         A      I would say late 2009.

   10           Q      And why did Mr. Sepe have Meuse call you?

  11            A      Well,     Meuse had, obviously, a lot. of clients

  12      in the micro-cap arena, so he natural thought that he might

  13      be a good source of clientele.

      4         Q     That Mr. Meuse would be a good source of

  15      clientele?

  1.6           A      Who could refer me on to him -- refer business to

  17      me.

  1.1           Q     Refer different micro-cap companies to you for

  19      marketing purposes?

  20            A     That's correct.

  21            Q      So you said he called you or you called him?

  22            A      T believe he called me.

  23            Q     And what did he say?

  2             A     I don't remember.

  25            Q     I guess -- okay. Let's go general then. He
Case
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                                                             Page 113

      1   introduced himself.

      2        A    Absolutely.

      3        Q    And did he talk to you about Recycle Tech?

      4        A    No.

      5        Q    What did he talk to you about?

      6        A    What he did in terms of dealing with companies,

      7   reverse mergers, funding. lie said he had a number of strong

      8   micro-cap and small-cap companies from the NASDAQ all the

      9   way down to the pink sheets that he dealt with and would 1

  1p      be interested in him forwarding on the clients.

  11           Q    Clients for you to market?

  12           A    Yes.

  1            Q    Did he suggest any other business for you?

  14           A    No, he didn't.

  15           Q    Did he suggest selling or buying a vehicle?

  16           A    That was something that I considered with Jay Fling

  17      at one point was to buy    buy some vehicles and flip them

  18      around. There was -- the inventory over the last couple of

  19      years to -- as Mr. Meuse had indicated, was that Lhere -- it

  20      was a buyer's market and that he had access to vehicles and

  21      that it: would be -- it might be a good way to make some

  22      money. So it was something that I considered. And then

  23      after looking at it, the situation a little bit: and then

  24      talking to my counsel, I decided to not do it.

  25           Q    Okay. When you say vehicles, are you referring to
Case
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                                                             Page 114
        the public shells?

   2          A That. correct.

   3          Q   And you would buy the public shells, slash,

   4    vehicles to sell them?

   5          A   That's correct.

   6          Q   And you considered doing this with Jay Fung?

   7          A   That's correct.

   8          Q   And through Belmont Partners?

   9          A   We just thought: about doing it in general, but: Joc

  10    Meuse had certainly said, I've got -- this is what T do, T

  11    could probably find you all a good investment. And so I

  12    spoke to him aL the time about: it.

  13          Q   And you said you decided not to?

  14          A   Decided not to.

  1!)         Q   You said after speaking to counsel. I don't want

  16    to know what counsel said to you, but why did you decide not

  1.7   to?

  18          A   Just decided that I had enough going on in my

  19    current -- 1 was already strung out enough in terms of hours

  20    I was working and 1 certainly didn't need to get into

  21.   another venture when I was buying a vehicle and then sitting

  22    there trying to go out and sell that vehicle.

  23               T. mean, kind of like 1 wouldn't want to buy a car

  24    and try to find somebody else to buy it at a higher price.

  25    it just didn't seem Like the right way to go.
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   1         Q      Okay. I have a series of Emails you produced to

   2    us with various Bates stamps regarding -- or from Belmont

        Partners. I'm going to mark them as a composite exhibit.

   4    If becomes confusing, I'll separate them out. But because

   5    you all have to leave earlier today, I'll put them in

   6    together.

             A      Okay.

   8                MS. FATOVICH: Let's mark the next series of

   9         Emails as a composite exhibit.

  10         (The above document was marked as Exhibit

  11         No. 85 for identification, after which the following

  12         was had:)

  13                BY MS. FATOVICB:

  14         Q      I'm handing you what has been marked Exhibit 85.

  1.5   Exhibit 85 consists of five different Emails Bates stamped

  16    from OTC000001 through -- and here the Bates stamping is a

  :17   little odd, so it goes to 13, except the document ends at

  18    12. The last two pages are reversed, 13 and then 12.

  19         A      Okay.

  20         Q      So that's thirteen pages.

  71                The documents are all labeled OTC. Are these

  22    documents that you provided to us?

  23         A      Yes.

  24         Q      So looking at the first Email, which is two pages,

  25    and if you need more time to look over the documents, let me
Case
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                                                             Page 116
        know.

   2         A      Are we starting with the first two pages?

                    Yes.

   4         A      Okay. I'm fine.
   r7        Q      Okay. So the first page is dated January 2nd,

        2010 at 4:58 p.m. from a Hadi Aboukhater. It's H-A-D-I,

   7 space, A-B-O-U-K-H-A-T-E-R. And the Email address is

   8    hadi@belmontpartners.net to otcsolutionsllc@gmail.com, cc:

        Jay Meuse and Joseph Day.

  10                If you could review the first two pages of the

  11    document. Let me know when you're ready to proceed.

  12         A      I'm ready.

  13                Were you in discussions or OTC Solutions in

  14    discussions with Belmont Partners regarding -- as I read

  15    this document, regarding obtaining two shells, one called

  16    DATI, the other RCYT as in Recycle Tech?

  17            A   They were showing me two vehicles.

  18         Q      Okay. And you expressed your interest, it

  19    appears, on the second page, we may want them both, get back

  20 to me whenever possible. Is that expressing interest in

  21    those two shells?

  22         A Okay. Yes.

  2.3           Q   And that's Bates stamped OTCO2.

  24         A      Okay.

  25         Q      The Bates stamp 1, the first sentence of that
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                                                             Page 117
   1    Email, Joe is still pressing to get the breakdown between

   2    restricted and FT on RCYT. FT is that Free Trading?

   3         A      That would be Free Trading.

                    And then it reads, we should have it early next

   5 week as we are waiting on a key individual on Recycle Tech

   6    to get back from vacation. Do you remember who that key

   7 individual was?

             A      No.

             Q      Who is Hadi Aboukhater?

  10         A      Both Hadi and Joseph Day were working for Joseph

  11    Meuse a.t Belmont Partners.

  12         Q      Do you know what their titles were?

  13         A      No, I don't.

  14         Q      And what did they do?

  15         A      I believe they were in the capacity of selling

  16    vehicles.

  17         Q      They're salesmen of sorts?

  18         A      That would be accurate.

  19         Q      So turning to the next two pages, three and four,

  20    January 6th, 2010. Again, from Hadi to OTC Solutions. This

  21    time cc'd to Joseph Day. And there's actually three Emails.

  22    The second Email is from you, very interested in the vehicle

  23    it reads, I'm trying to get in touch with my partners, but

  24    have not reached them yet. The partners, is that Eric Van

  25    Nguyen and Jay Fung?
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                                                             Page 118
    1        A     That would be Jay.

    2        Q     Just Jay?

    3        A     That would be Jay. I don't really think that Eric

        was too involved in those conversations to my recollection,

        but, again, I'm not sure.

             •     So my partners means Jay?

    7        A    Yeah.

             •     Okay. And did Kevin Sepe have anything to do with

        any of these --

  TO         A     No.

  11         Q    I'm sorry. Did Kevin Sepe have anything to do

  12    with any of these potential transactions for the Recycle

  13    Tech vehicle?

  14         A     No.

             •    You can turn to the next page, five and six.

             A    Okay.

  1.7        Q    That one is dated January 7th, 2010 from Joseph

  18    Day to Anthony Thompson, cc: Hadi and Joseph Meuse. It

  19 references an LOI, a Letter of Intent, for the acquisition

  20 of Recycle Tech.

  21         A    Okay.

  22         Q    Did you sign a Letter of Intent for the

  23 acquisition of Recycle Tech?

  74         A    I don't believe I did. I had -- I had counsel

  25    look at it. And I think this was about the time when the
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        decision was made to not go that direction.

   2         Q      Okay.   Looking at the second page of that Email,

    3   it's six, it's redacted. Can you tell me why it's redacted?

   4         A      No.

    I
    a        Q      Is it for privilege?

   6                MR. BAKER: He's looking at me, but i'm not the

   7         witness. If you want to ask me, I'm glad to telt you

   8         what my --

   9                BY MS. PATOVICH:

  10         Q      Do you know why it's redacted?

  11         A      No, T don't.

  12         Q      Does your counsel know why it's redacted?

  13                MR. RAKER: The two reasons that I redact anything

  14         are either privilege or relevance. And I'll have to go

  15         back and see the original to know which of those two it

  16         was.

  17                MS. FATOVICH: If it's privileged, I'd like a

  18         privilege log describing to, from, et. cetera. If it's

  19         relevance, I would like a better explanation.

  20                MR. BAKER: Sure.

  21                MS. EATOVICH: Because you can redact for

  22         attorney/client. I don't know if relevance works for

  23         me.

  24                MR. BAKER:     Well, I'm sorry if it doesn't work for

  25         you, hut when I get back, I'm glad to look at those
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                 originals, and we can talk about it.

                      MS. FATOVICH: Okay.

                      BY MS. FATOVICH:

      4          Q    So that's OTC6.

      5               And then moving on to the next Email within the

      6   same exhibit. This has odd numbering as well. It starts

      7 with 11 and it goes through to 7. The pages are numerated.

      8          A Okay. Okay.

                 •    So the first Email dated January 11th, 2010.

  10 They're a series of Emails. Have you seen this Email before

  t1      today?

  12             A   I believe I have.

  13             Q   And it's from L. Marlow of gracinmarlow.com. Is

  14      that an attorney?

  L              A   Yes, ma'am.

  16             Q   Is that OTC's attorney?

  17             A   One of them.

  18             Q   Hank Gracin, G-R-A-C-I-N, is that another

  19 attorney?

  20             A    Yes, ma'am.

  21             Q   For OTC?

  22             A   Yeah, one of them.

  23             Q   Okay. And then we also have

  24      C-G-R-Z-A-N@gracinmarlow.com. Is that another attorney for

  25      OTC?
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                   EXHIBIT 7
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                              UNITED STATES DISTRICT COURT
                              SOT/MERIN DISTRICT OF FLORIDA

                                 CASE NO. I:12-cv-2I656-JAL

 SECURITIES AND EXCHANGE                      )
 COMMISSION,                                  )
                                              )
                               Plaintiff,     )
                                              )
                                              )
RECYCLE TECH, INC.,                           )
RYAN GONZALEZ,                                )
OTC SOLUTIONS LLC,                            )
ANTHONY THOMPSON,                             )
PUDONG LLC, and JAY FUNG,                     )
                                              )
                               Defendants,    )
                                              )

         PLAINTIFF'S SECOND SET OF INTERROGATORIES TO DEFENDANT
                            ANTHONY THOMPSON

       Plaintiff Securities and Exchange Commission serves its Second Set of Interrogatories to

Anthony Thompson pursuant to Rule 33 of the Federal Rules of Civil Procedure. Thompson

must provide sworn answers in writing within the time limits specified by the Federal Rules of

Civil Procedure. In answering these Interrogatories, Thompson must furnish all information

reasonably available to him, including information in the possession, custody, or control of any

agents, employees, or representatives,

                              DEFINITIONS AND INSTRUCTIONS

       A.     The time period for these interrogatories is from January 2009 to the present,

unless otherwise indicated.

       B. "You," "Your," "Defendant," or "Thompson" means the responding defendant,

Anthony Thompson, his agents, servants, employees, representatives, contractors, attorneys,

investigators, and anyone acting one his behalf or pursuant to his direction, and any entity or
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company of which he is or was a principal, director or officer, or otherwise controls or controlled,

        C. "Recycle Tech" means Recycle Tech, Inc. and any subsidiaries, affiliates, predecessors,

successors, officers, directors, principals, consultants, representatives, agents, employees, attorneys,

or any other person acting on behalf of one or more of them.

        D. "OTC Solutions" means OTC Solutions LLC and any subsidiaries, affiliates,

predecessors, successors, officers, directors, principals, consultants, representatives, agents,

employees, attorneys, or any other person acting on behalf of one or more of them.

        E. "Amended Complaint" means the Amended Complaint filed under Docket Entry 46

      46) in the United States District Court, Southern District of Florida, assigned case number

1 :12-cv-21656-JAL.

        F. "Person" means any individual, natural person, corporation, partnership, limited

partnership, or any other entity.

        G. "Documents" includes all writings and graphic matter of any kind, including, but not

limited to, the original, all interim drafts, and each copy containing interlineations, deletions,

marginal notes, or which is otherwise non-conforming and which shall include, but not be

limited to, any file, financial statement or report, note, bank statement, canceled checks, analysis,

deposit slip, credit and debit memoranda, telex, bill (including telephone and credit card),

correspondence, prospectus, script, transcript, offering materials, e-mails, ledger sheet, receipt,

transcript, photograph, sketch, chart, graph, diagram, diary, telephone log, appointment calendar,

telegram,, telecopy, fax, diary, mailgram, accounting work paper, report, computer printout, filing

with any state or federal agency, inter- or intxa-office communication, minutes of meetings,

invoices, and any tangible items of readable or visual material, whether printed, typed,

handwritten, microfilmed, or recorded on tape, computer hard drive or disk or other means of



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     recording or data entry. The term "documents" also includes voice recordings, film, tapes, and

     other compilations from which information can be obtained.

            H. A document "relating to", "concerning", "referring to", "underlying" or "supporting"

     a given subject matter means any document or communication that constitutes, contains,

     embodies, comprises, reflects, identifies, describes, analyzes, or in any way relates to that

     subject.

            I. "Date" shall mean the exact date, month and year, if ascertainable or, if not, the best

     approximation of the date (based upon relationship with other events).

            J. To identify a person means to state that person's name and last known residential and

     business addresses and telephone and cell phone numbers.

            K. To identify a document means to refer to the document's identification or exhibit

     number if the document has been previously produced or used in discovery, or to attach a copy

     of the document to the interrogatory answers.


                                                              ,-
     October 7, 2013                             By:
                                                 Christine Nestor
                                                 Senior Trial Counsel
                                                 Fla. Bar No. 597211
                                                 nestorc@sec.gov
                                                 Direct Dial: (305) 982-6367

                                                 Attorney for Plaintiff
                                                 SECURITIES AND EXCHANGE COlvNISSION
                                                 801 Brickell Avenue, Suite 1800
                                                 Miami, Florida 33131
                                                 Telephone: (305) 982-6300
                                                 Facsimile: (305) 536-4154




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                                        CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that on October 7, 2013, the foregoing second set of

        interrogatories was served on the following counsel as indicated below:

        Ryan Gonzalez
        8240 NE 8th Place
        Miarni, Florida 33138
        Via US Mail

        James D. Sallah, Esq.
        Jeffrey L. Cox, Esq.
        Joshua A. Katz, Esq.
        Sallah Astarita & Cox, LLC
        2255 Glades Rd. Ste 300E
        Boca Raton, FL 33431
        561-989-9080 (Tele.)
        Counsel for Jay Fung and Pudon,s, LLC
        VIA US MAIL

        Brent R. Baker, Esq.
        D. Loren Washburn, Esq.
        Aaron D. Lebenta, Esq.
        Clyde Snow & Session
        201 S. Main Street, 13th Floor
        Salt Lake City, UT 84111
        Counsel' for Anthony Thompson and OTC Solutions
        VIA FACSIMILE AND US MAIL

        Jeffrey A. Neiman, Esq,
        100 Southeast Third Avenue
        Suite 2612
        Fort Lauderdale, Florida 33394
        Telephone: 954-462-1200
        Counsel for Anthony Thompson and OTC Solutions
        VIA FACSIMILE AND US MAIL



                                                    Christine Nestor, Esq.




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                                              INTERROGATORIES




                I. Identify your affirmative defenses to the Amended Complaint and the factual basis

        supporting each defense.




               2. For the period of January 1, 2009 — December 31, 2010 identify the issuers you and/or OTC

        Solutions LLC promoted through e-mail newsletters and the time period for each marketing campaign.




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            3. For each of the issuers identified in your answer to number 2 above, identify the .marketing

     campaigns that you/or OTC Solutions LL•C completed in conjunction with Pudong,'LLC andror Jay Thing.




            4. For each of the issuers identified in your answer to number 2 above, identify the marketing

     campaigns that you and/or OTC Solutions ',LC completed in which Kevin Sepe was involved in any

     miumer and identify how he was involved.
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             I swear or affirm that the foregoing Answers to Plaintiffs Second Set of intmogatories to

     Defendant Anthony Thompson are true and correct to the best of my knowledge.




     Date:
                                             ANTHONY THOMPSON




     STATE OF
                                            ss.
     COUNTY OF

             BEFORE ME, the undersigned authority, personally appeared ANTHONY THOMPSON,

     who is personally known to me or produced a                         bearing his name and photograph

     as identification, and who, upon being duly sworn, deposed and stated that the Answers to the

     foregoing Interrogatories are true and correct to the best of his knowledge,


             SWORN TO AND SUBSCRIBED BEFORE ME this                         day of           , 2013.




                                            NOTARY PUBLIC

                                            My Commission Expires:




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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. I:12-cv-21656-JAL

 SECURITIES AND EXCHANGE                         )
 COMMISSION,                                     )
                                                 )
                                Plaintiff,       )
v.                                               )
                                                 )
RECYCLE TECII, JJ C.,                            )
RYAN GONZALEZ,                                   )
OTC SOLUTIONS LLC,                               )
ANTHONY THOMPSON,                                )
PTJDONG LLC, and JAY FUNG,                       )
                                                 )
                                Defendants,      )
                                                 )

         PLAINTIFF'S SECOND SET OF INTERROGATORIES TO DEFENDANT
                            OTC SOLUTIONS LLC

        Plaintiff Securities and Exchange Commission serves its Second Set of Intermgatoydes to

OTC Solutions LLC pursuant to Rule 33 of the Federal Rules of Civil Procedure. OTC

Solutions LLC must provide sworn answers in writing within the time limits specified by the

Federal Rules of Civil Procedure. hi answering these Interrogatories, OTC Solutions LLC must

furnish all information reasonably available to it, including information in the possession,

custody, or control of any agents, employees, or representatives.

                              DEFINITIONS AND INSTRUCTIONS

        A.     The time period for these interrogatories is from January 2009 to the present,

unless otherwise indicated.

       B. "You," "Your," "Defendant," or "OTC Solutions" means the responding Defendant,

OTC Solutions LLC and any subsidiaries, affiliates, predecessors, successors, officers, directors,

principals, consultants, representatives, agents, employees, attorneys, or any other person acting on
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        behalf of one or more of them.

                C. "Thompson" means Anthony Thompson, his agents, servants, employees,

        representatives, contractors, attorneys, investigators, and anyone acting on his behalf or pursuant to

        his direction, and any entity or company of which he is or was a principal, director or officer, or

        otherwise controls or controlled,

                D. "Recycle Tech" means Recycle Tech, inc. and any subsidiaries, affiliates, predecessors,

        successors, officers, directors, principals, consultants, representatives, agents, employees, attorneys,

        or any other person acting on behalf of one or more of them.

                E. "Amended Complaint" means the Amended Complaint filed under Docket Entry 46

        (0,E. 46) in the United States District Court, Southern District of Florida, assigned case number

        1:12-cv-21656-JAL

                F. "Person" means any individual, natural person, corporation, partnership, limited

        partnership, or any other• entity.

                G, "Documents" includes all writings and graphic matter of any kind, including, but not

        limited to, the original, all interim drafts, and each copy containing interlineations, deletions,

        marginal notes, or which is otherwise non-confonning and which shall include, but not be

        limited to, any file, financial statement or report, note, bank statement, canceled checks, analysis,

        deposit slip, credit and debit memoranda, telex, bill (including telephone and credit card),

        correspondence, prospectus, script, transcript, offering materials, e-mails, ledger sheet, receipt,

        transcript, photograph, sketch, chart, graph, diagram, diary, telephone log, appointment calendar,

        telegram, telecopy, fax, diary, mailgram, accounting work paper, report, computer printout, filing

        with any state or federal agency, inter- or infra-office communication, minutes of meetings,

        invoices, and any tangible items of readable or visual material, whether printed, typed,



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     handwritten, microfilmed, or recorded on tape, computer hard drive or disk or other means of

     recording or data entry. The term "documents" also includes voice recordings, film, tapes, and

     other compilations from which information can be obtained.

            H, A document "relating to", "concerning", "referring to", "underlying" or "supporting"

     a given subject matter means any document or communication that constitutes, contains,

     embodies, comprises, reflects, identities, describes, analyzes, or in any way relates to that

     subject.

            I. "Date" shall mean the exact date, month and year, if ascertainable or, if not, the best

     approximation of the date (based upon relationship with other events).

            J. To identify a person means to state that person's name and last known residential and

     business addresses and telephone and cell phone numbers.

            K. To identify a document means to refer to the document's identification or exhibit

     number if the document has been previously produced or used in discovery, or to attach a copy

     of the document to the interrogatory answers.



     October 7, 2013                             By:
                                                 Christine Nestor
                                                 Senior Trial Counsel
                                                 Fla. Ear No. 597211
                                                 nestorc@secgov
                                                 Direct Dial: (305) 982-6367

                                                 Attorney for Plaintiff
                                                 SECURITIES AND EXCHANGE COMMISSION
                                                 801 Brickell Avenue, Suite 1800
                                                 Miami, Florida 33131
                                                 Telephone: (305) 982-6300
                                                 Facsimile: (305) 536-4154




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                                      CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on October 7, 2013, the foregoing second set of

      interrogatories was served on the following counsel as indicated below:

      Ryan Gonzalez
      8240 NE 8th place
      Miami, Florida 33138
      Via US Mail

      James D. Sallah, Esq.
      Jeffrey L. Cox, Esq.
      Joshua A. Katz, Esq.
      Sallah Astarita & Cox, LLC
      2255 Glades Rd. Ste 300E
      Boca Raton, FL 33431
      561-989-9080 (Tele.)
      Counsel for Jay Fang and Padong LLC
      VIA US MAIL

      Brent R. Baker, Esq.
      D. Loren Washburn, Esq.
      Aaron D. Lebenta, Esq.
      Clyde Snow & Session
      201 S. Main Street, 13th Floor
      Salt Lake City, UT 84111
      Counsel for Anthony Thompson and OTC Solutions
      VIA FACSIMILE AND US MAIL

      Jeffrey A. Neiman, Esq.
      100 Southeast Third Avenue
      Suite 2612
      Fort Lauderdale, Florida 33394
      Telephone: 954-462-1200
      Counsel for.Anthony Thompson and OTC Solutions
      VIA FACSIMILE AND US MAIL



                                                  Christine Nestor, Esq.




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                                            INTERROGATORIES



             1. Identify your affirmative defenses to the Amended Complaint and the factual basis

     supporting each defense.




            2. For the period of January 1, 2009 — December 31, 20W identify the issuers you promoted

     through e-mail newsletters and the time period for each marketing campaign.
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                3. For each of the issuers identified in your answer to number 2 above, identify the marketing

        campaigns that you completed in conjunction with Pudong, TAX and/or Jay Fung.




               4. For each of the issuers identified in your answer to number 2 above, identify the marketing

        campaigns that you completed in which Kevin Sepe was involved in any manner and identify how he was

        involved.




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                I swear or affirm that the foregoing Answers to Plaintiff's Second Set of Interrogatories to

        Defendant OTC Solutions LLC are true and correct to the best of my knowledge.




        Date:                                 OTC SOLUTIONS LLC


                                              By:



        STATE OF
                                              ss.
        COUNTY OF

                BEFORE ME, the undersigned authority, personally appeared                              , on

        behalf of OTC Solutions LLC, who is personally known to rue or produced a

        bearing his name and photograph as identification, and who, upon being duly sworn, deposed and

        stated that the Answers to the foregoing Interrogatories are true and correct to the best of his

        knowledge.


                SWORN TO AND SUBSCRIBED BEFORE ME this                      day of              , 2013,




                                             NOTARY PUBLIC

                                             My Commission Expires:

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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO. I:12-ev-21656-JAL

       SECURITIES AND EXCHANGE                     )
       COMMISSION,                                 )
                                                   )
                                    Plaintiff,     )
       v.                                          )
                                                   )
       RECYCLE TECH, INC.,                         )
       RYAN GONZALEZ,                              )
       OTC SOLUTIONS LLC,                          )
       ANTHONY THOMPSON,                           )
       PUDONG LLC, and JAY FLING,                  )
                                                   )
                                   Defendants,     )
                                                   )

            PLAINTIFF'S SECOND REQUEST FOR PRODUCTION OF DOCUMENTS TO
                            DEFENDANT ANTHONY THOMPSON

              Pursuant to Rule 34 of the Federal Rules of Civil Procedure, Plaintiff Securities and

       Exchange Commission requests that Defendant Anthony Thompson produce the following

       documents in his possession, custody or control to: Christine Nestor, Securities and Exchange

       Commission, 801 Brickell Ave, Suite 1800, Miami, FL 33131, Include a copy of this Request

       with your documents. Thompson must produce responses and documents within the time limits

   specified by the Federal Rules of Civil Procedure.

                                 DEFINITIONS AND INSTRUCTIONS

             A.      The time period for this Request is from January 2009 to the present, unless

   otherwise indicated.

             B. ''You„" "Your," "Defendant," or "Thompson" means the responding defendant,

   Anthony Thompson, his agents, servants, employees, representatives, contractors, attorneys,

   investigators, and anyone acting on his behalf or pursuant to his direction, and any entity or

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          company of which he is or was a principal, director or officer, or otherwise controls or controlled.

                 C. "Recycle Tech" means Recycle Tech, Inc. and any subsidiaries, affiliates, predecessors,

         successors, officers, directors, principals, consultants, representatives, agents, employees, attorneys,

         or any other person acting on behalf of one or more of them,

                 A. "OTC Solutions" means OTC Solutions LLC and any subsidiaries, affiliates,

         predecessors, successors, officers, directors, principals, consultants, representatives, agents,

         employees, attorneys, or any other person acting on behalf of one or more of them.

                 E. "Green Building" means Green Building Sc Engineering Contractors, LLC and any

         subsidiaries, affiliates, predecessors, successors, officers, directors, principals, consultants,

         representatives, agents, employees, attorneys, or any other person acting on behalf of one or more of

         them.

                 F. "Documents" includes all writings and graphic matter of any kind, including, but not

         limited to, the original, all interim drafts, and each copy containing interlineations, deletions,

         marginal notes, or which is otherwise non-conforming and which shall include, but not be

         limited to, any file, financial statement or report, note, bank statement, canceled cheeks, analysis,

         deposit slip, credit and debit memoranda, telex, bill (including telephone and credit card),

         correspondence, prospectus, script, transcript, offering materials, e-mails, ledger sheet, receipt,

         transcript, photograph, sketch, chart, graph, diagram, diary, telephone log, appointment calendar,

         telegram, telecopy, fax, diary, mailgram, accounting work paper, report, computer printout, filing

         with any state or federal agency, inter- or intra-office communication, minutes of meetings,

         invoices, and any tangible items of readable or visual material, whether printed, typed,

         handwritten, microfilmed, or recorded on tape, computer hard drive or disk or other means of

         recording or data entry. The term "documents" also includes voice recordings, film, tapes, and
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    other compilations from which information can be obtained.

             G. A document "relating to", "concerning", "referring to", "underlying" or "supporting"

    a given subject matter means any document or communication that constitutes, contains;

    embodies, comprises, reflects, identifies, describes, analyzes, or in any way relates to that

    subject, including, but not limited to, documents concerning the presentation of the documents.



    October 7, 2013                              By:
                                                 Christine Nestor
                                                 Senior Trial Counsel
                                                 Fla. Bar No. 597211
                                                 tiestorc@sec.gov
                                                 Direct Dial: (305) 982-6367

                                                Attorney for Plaintiff
                                                SECURITIES AND EXCHANGE COMMISSION
                                                801 Brickell Avenue, Suite 1800
                                                Miami, Florida 33131
                                                Telephone: (305) 982-6300
                                                Facsimile: (305) 536-4154

                                    CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on October 7, 2013, the foregoing request for production of

    documents was served on the following counsel as indicated below:

    Ryan Gonzalez
    8240 NE 8th Place
    Miami, Florida 33138
    Via US Mail

    James D. Sallab, Esq.
    Jeffrey L. Cox, Esq.
    Joshua A. Katz-, Esq.
    Sallah Astarita & Cox, LLC
    2255 Glades Rd. Ste 300E
    Boca Raton, FL 33431
    561-989-9080 (Tele.)
    Counsel for Jay Tung and Pudong LLC
    VIA US MAIL

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          Brent K. Baker, Esq.
          D. Loren Washburn, Esq.
          Aaron D. Lebenta, Esq.
          Clyde Snow Sz Session
          201 S. Main Street, 13th Floor
          Salt Lake City, UT 84111
          Counsel for Anthony Thompson and OTC Solutions
          VIA FACSIMILE AND US MAIL

          Jeffrey A. Neiman, Esq.
          100 Southeast Third Avenue
          Suite 2612
          Fort Lauderdale, Florida 33394
          Telephone: 954-462-1200
          Counsel for Anthony Thompson and OTC Solutions
          VIA FACSIMILE AND US MAIL



                                                  Christine Nestor, Esq.




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                                       DOCUMENTS REQUESTED

            1. Produce documents which support your affirmative defenses,

            2. For the period of January 1, 2009 — December 31, 2010 produce your brokerage records,

                including monthly account statements, where stock was held in exchange for marketing

                services you provided to issuers.

            3. For the period of January 1, 2009 — December 31, 2010 produce OTC Solutions LLC's

                brokerage records, including monthly account statements, where stock was held in exchange

                for marketing services you and/or OTC Solutions LLC provided to issuers.

            4. For the period of January 1, 2009 — December 31, 2010 produce your bank account records,

                including bank statements, where proceeds of stock you sold were deposited or held.

            5. For the period of January 1, 2009 — December 31, 2010 produce OTC Solutions LLC's bank

                account records, including bank statements, where proceeds of stock you sold were deposited

                or held.

            6   Produce e-mail newsletters you and/or OTC Solutions LLC issued for the period of January

                1, 2009 December 31, 2010.

            7. Produce c-mail newsletters you and/or OTC Solutions LLC issued regarding Mass Hysteria.

            8. Produce e-mail newsletters you and/or OTC Solutions LLC issued regarding Blue Gem.

            9, Produce e-mail newsletters you and/or OTC Solutions LLC issued regarding Lyric Jeans,

            10. Produce documents between you and Pudong LLC and/or Jay Fung regarding Mass Hysteria.

            11. Produce documents between you and Pudong LLC and/or Jay Fung regarding Blue Gem

           12. Produce documents between you and Pudong LLC and/or Jay Fung regarding Lyric Jeans.

            13, Produce documents between you and Kevin Sepe regarding Mass Hysteria, Blue Gem, and/or

                Lyric Jeans.

           14. Produce e-mail newsletters that Pudong LLC and/or Jay Fung issued for the period of January

                1, 2009 — December 31, 2010.



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   15. For the period of January 1, 2009 — December 31, 2010, produce documents related to any

      payment made in exchange for legal advice given regarding your newsletter disclaimer.

   16. Produce documents between you and Pudong LLC and/or Jay Fung regarding your newsletter

      disclaimer,




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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA

                                          CASE NO. 1:12-ev-21656-JAL

          SECURITIES AND EXCHANGE                      )
          COMMISSION,                                  )
                                                       )
                                       Plaintiff,      )
          v.                                           )
                                                       )
          RECYCLE TECH, INC.,                          )
          RYAN GONZALEZ,                               )
          OTC SOLUTIONS LLC,                           )
          ANTHONY THOMPSON,                            )
          PUDONG LLC, and JAY FUNG,                    )
                                                       )
                                       Defendants,     )
                                                       )

                 PLAINTIFF'S SECOND REQUEST FOR PRODUCTION OF DOCUMENTS TO
                                 DEFENDANT OTC SOLUTIONS LLC

                  Pursuant to Rule 34 of the Federal Rules of Civil Procedure, Plaintiff Securities and

      Exchange Commission requests that Defendant OTC Solutions LLC produce the following

      documents in its possession, custody or control to: Christine Nestor, Securities and Exchange

      Commission, 801 Nickell Ave, Suite 1800, Miami, FL 33131, Include a copy of this Request

      with your documents, OTC Solutions LLC must produce responses and documents within the

      time limits specified by the Federal Rules of Civil Procedure.

                                     DEFINITIONS AND INSTRUCTIONS

                  A.    The time period for this Request is from January 2009 to the present, unless

     otherwise indicated.

                  B. "You,' "Your," "Defendant," or "OTC Solutions" means the responding Defendant

     OTC Solutions LLC and any subsidiaries, affiliates, predecessors, successors, officers, directors,

     principals, consultants, representatives, agents, employees, attorneys, or any other person acting on
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behalf of one or more' of them.

        C. "Thompson" means Anthony Thompson, his agents, servants, employees,

representatives, contractors, attorneys, investigators, and anyone acting on his behalf or pursuant to

his direction, and any entity or company of which he is or was a principal, director or officer, or

otherwise controls or controlled.

        D. "Recycle Tech" means Recycle Tech, Inc. and any subsidiaries, affiliates, predecessors,

successors, officers, directors, principals, consultants, representatives, agents, employees, attorneys,

or any other person acting on behalf of one or more of them.

        E. "Green Building" means Green Building & Engineering Contractors, 1.1C and any

subsidiaries, affiliates, predecessors, successors, officers, directors, principals, consultants,

representatives, agents, employees, attorneys, or any other person acting on behalf of one or more of

them.

        F. "Documents" includes all writings and graphic matter of any kind, including, but not

limited to, the original, all interim drafts, and each copy containing interlineations, deletions,

marginal notes, or which is otherwise non-conforming and which shall include, but not be

limited to, any file, financial statement or report, note, bank statement, canceled checks, analysis,

deposit slip, credit and debit memoranda, telex, bill (including telephone and credit card),

correspondence, prospectus, script, transcript, offering materials, e-mails, ledger sheet, receipt,

transcript, photograph, sketch, chart, graph, diagram, diary, telephone log, appointment calendar,

telegram, telecopy, fax, diary, mailgram, accounting work paper, report, computer printout, filing

with any state or federal agency, inter- or intra-office communication, minutes of meetings,

invoices, and any tangible items of readable or visual material, whether printed, typed,

handwritten, microfilmed, or recorded on tape, computer hard drive or disk or other means of
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      recording or data entry. The term "documents" also includes voice recordings, film, tapes, and

      other compilations from which information can be obtained.

             G. A document "relating to", "concerning", "referring to", "underlying" or "supporting"

     a given subject matter means any document or communication that constitutes, contains,

     embodies, comprises, reflects, identifies, describes, analyzes, or in any way relates to that

     subject, including, but not limited to, documents concerning the presentation of the documents.



     October 7, 2013                              By:
                                                  Christine Nestor
                                                  Senior Trial Counsel
                                                  Fla. Bar No, 597211
                                                  nestorc@sec.gov
                                                  Direct Dial: (305) 982-6367

                                                 Attorney for Plaintiff
                                                 SECURITIES AND EXCHANGE COMMISSION
                                                 801 Brickell Avenue, Suite 1800
                                                 Miami, Florida 33131
                                                 Telephone: (305) 982-6300
                                                 Facsimile: (305) 536-4154

                                    CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on October 7, 2013, the foregoing request for production of

     documents was served on the following counsel as indicated below:

     Ryan Gonzalez
     $240 NE 8th Place
     Miami, Florida 33138
     Via US Mail

     James D. Sallah, Esq.
     Jeffrey L, Cox, Esq.
     Joshua A, Katz, Esq.
     Saila) Astarita & Cox, LLC
     2255 Glades Rd. Ste 300E
     Boca Raton, FL 33431
     561-989-9080 (Tele.)
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       Counsel for Jay lung and Pudong LLB'
       VIA US MAIL

       Brent R. Baker, Esq.
       D. Loren Washburn, Esq,
       Aaron D. Lebenta, Esq,
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       Counsel for Anthony Thompson and OTC Solutions
       VIA FACSIMILE AND US MAIL



                                               Christine Nestor, Esq.
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                               DOCUMENTS REQUESTED

        Produce documents which support your affirmative defenses,

    2 For the period of January 1, 2009 — December 31, 2010 produce your brokerage records,

        including monthly account statements, where stock was held in exchange for marketing

        services you provided to issuers,

    3. For the period of January 1, 2009 — December 31, 2010 produce your bank account records,

        including hank statements, where proceeds of stock you sold were deposited or held,

    4. Produce e-mail newsletters you issued for the period of January 1, 2009 — December 31,

        2010.

    5. Produce e-mail newsletters you issued regarding Mass Hysteria,

    6. Produce e-mail newsletters you issued regarding Blue Gem_

    7. Produce e-mail newsletters you issued regarding Lyric Jeans.

    $, Produce doctunents between you and Pudong LLC and/or Jay Fung regarding Mass Hysteria.

    9. Produce documents between you and Pudong LLC and/or Jay Fung regarding Blue Gem,

    10. Produce documents between you and Pudong LLC and/or Jay Fung regarding Lyric Jeans.

    11. Produce documents between you and Kevin Sepe regarding Mass Hysteria, Blue Gem, and/or

       Lyric Jeans.

    12. Produce e-mail newsletters that Pudong .LLC and/or Jay Fung issued for the period of January

       1, 2009 — December 31, 2010,

    13. For the period of January 1, 2009 — December 31, 2010, produce documents related to any

       payment made in exchange for legal advice given regarding your newsletter disclaimer.

    14. Produce documents between you and Pudong, LLC and/or Jay Fung regarding your newsletter

       disclaimer,
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                       UNITED STATES DISTRICT COURT                       APPEARANCES:
                       SOUTHERN DISTRICT OF FLORIDA          On Behalf of the Plaintiff:
                                                                SECURITIES AND EXCHANGE COMMISSION
                      CASE NO.: 1:12—cv-21656—JAL               801 BRICKELL AVENUE,
                                                                SUITE 1800
                                                                MIAMI, FLORIDA, 33131
      SECURITIES AND EXCHANGE                                   305-982-6300
      COMMISSION,                                               NESTORC@SEC.GOV

                    Plaintiff,                                  BY: CHRISTINE NESTOR, ESQUIRE

                                                             On Behalf of the Defendants:

      RECYCLE TECH, INC., RYAN                                  CLYDE SNOW & SESSIONS
      GONZALEZ, OTC SOLUTIONS LLC,                              633 WEST FIFTH STREET,
                                                                26TH FLOOR
      ANTHONY THOMPSON, PUDONG LLC,
                                                                LOS ANGELES, CALIFORNIA, 90071
      and JAY FUNG,                                             424-672-4815
                    Defendants.                                 MLS@CLYDESNOW.COM
                                                        12
                                                                BY: MARK L. SMITH, ESQUIRE
                                                                CLYDE SNOW & SESSIONS
                                                                ONE UTAH CENTER,
                                VOLUME I OF II                  201 SOUTH MAIN STREET
                                                                SALT LAKE CITY, UTAH, 84111
                     DEPOSITION OF ANTHONY THOMPSON             801-322-2516
                                                                BRB@CLYDESNOW.COM
                        Tuesday, October 15, 2013               DLW@CLYDESNOW.COM
                                                                BY: BRENT R. BAKER, ESQUIRE
                       10:15:02 a.m. — 6:44:38 p.m.
                           801 Brickell Avenue
                                                                  a LOREN WASHBURN, ESQUIRE
                          Miami, Florida 33131                  SALLAH, ASTARITA & COX, LLC
                                                                ONE BOCA PLACE,
                                                                2255 GLADES ROAD
                     (Stenographically) Reported By:            BOCA RATON, FLORIDA, 33431
                            DONNA GUNION, FPR                   561-989-9080
                      FLORIDA PROFESSIONAL REPORTER             JLC@SALLAHLAW.COM
                                                                JDS@SALLAHLAW.COM

                                                                BY: JEFFREY L. COX, ESQUIRE
                                                                  JAMES D. SALLAH, ESQUIRE




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       A. Because, as I said, we were looking to buy it as                        understanding was that bulletin board companies could
  2                                                                          2
      an investment.                                                              be non-penny stocks.
       Q. And did you ever sign the letter of intent marked                      BY MS. NESTOR:
      as Exhibit 115?                                                             Q. Okay. Did you have any understanding as to
       A. I don't recall.                       11:48                            whether Recycle Tech was a penny stock company?                11:49
       Q. Did you have any discussions with Mr. Meuse                             A. My understanding was it was.
      regarding the letter of intent?                                                MR. COX: Objection to that question.
       A. I don't recall.                                                            MR. SMITH: Join.
  9                                                                              BY MS. NESTOR:
       Q. And Recycle Tech is referred to as a bulletin
 10
      board public company. What does that mean?                    11:48         Q. Mr. Thompson, I'm showing you what's been marked 11:50
          MR. SMITH: Objection to form.                                          as Exhibit 140. Please take a look at it and let me know
 12                                                                              when you're ready.
          THE WITNESS: Bulletin board is a level, a tier
 13                                                                         13
       level on the market, and publicly traded company means                     A. Yes.
 14                                                                               Q. And Exhibit 140 is an e-mail dated January 6,
       that it trades on that public market.
                                                                            15
 15
      BY MS. NESTOR:                                    11:49                    2010, from you to Eric Van Nguyen and OTCBB@Comcast.net. 11:5
 16                                                                         16
       Q. And was it your understanding that Recycle Tech                        Do you see that?
 17                                                                               A. Yes.
      was a penny stock company when you were contemplating the
 18                                                                               Q. And OTCBB, was that an e-mail address that you
      purchase of it?
                                                                            L9
 19
       A. My understanding was it was a bulletin board                           used to communicate with Mr. Fung?
                                                                            20
 20
      company.                                  11:49                             A. Yes.                               11:51
 21                                                                         21
       Q. And are penny stock companies the only companies                        Q. And did you send the e-mail that's marked as
 22                                                                         22
      listed on the bulletin board?                                              Exhibit 140?
                                                                            23
 23       MR. SMITH: Objection to form.                                           A. Yes.
                                                                            24
          MR. COX: Objection.                                                     Q. And the subject of the e-mail is sweet shell. Do
                                                                            25
 25
          THE WITNESS: Bulletin board companies, my                 11:49        you see that?                              11:51


                                                                    71                                                                              72

        A. Yes.                                                                        THE WITNESS: Yes.
  2
        Q. And what does that mean?                                              BY MS. NESTOR:
  3                                                                                 Q. And what do you mean by you doubt Ile will buy
        A. I don't recall what I meant.
  4
        Q. And you write in the e-mail:                                           another until we get Smart Holdings done?
  5                                                                                 A. I don't recall what I meant by that.                 11:53
           "Guys, I found a sweetheart shell for Extender." 11:51
  6
           Do you see that?                                                         Q. Was Mr. Sepe involved with Smart Holdings'
        A. Yes.                                                                   business?
  8                                                                                 A. I know Mr. Sepe purchased Smart Holdings.
        Q. And what is Extender?
  9                                                                                 Q. And you issued newsletters regarding Smart
        A. I don't recall exactly what Extender was.
 10                                                                               Holdings, correct?                                11:53
        Q. Even if you don't recall exactly, what do you            11:52
 11   remember it was?                                                                 MR. COX: Form.
 12                                                                                    MR. SMITH: Join.
        A. I remember Extender being a company. A green
 13                                                                                    THE WITNESS: Yes.
      technology company, I believe.
 14                                                                               BY MS. NESTOR:
        Q. And were you looking for a company for Extender
 15
      to reverse merge with?                             11:52                      Q. And you go on to say:                              11:54
 16                                                                                    "I think we cannot let this one get away."
        A. I don't recall.
 17                                                                                    Do you see that?
        Q. And then you reference:
 18                                                                                 A. I do.
           "I cannot reach Kevin and doubt he will buy
 19                                                                                 Q. "The name is Recycle Tech, Inc. It would be
      another until we get SMHS done."
 20
           Do you see that?                        11:52                          perfect for a green deal."                            11:54
 21                                                                                    Do you see that?
        A. I do.
 22                                                                         22
        Q. Are you referring to Kevin Sepe?                                         A. I do.
 21     A. Yes.                                                                        MR. SMITH: Objection to form.
 24                                                                               BY MS. NESTOR:
        Q. And SMHS, is that Smart Holdings?
 25
           MR. COX: Objection to form.                      11:53                   Q. And so the sweet shell that you're referring to, 11:54


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      is that the Recycle Tech shell?                                                means.
  2                                                                                   Q. You wrote this e-mail, correct?
       A. I don't recall.
  3                                                                              3
       Q. From reading this e-mail, do you have any                                   A. I did.
                                                                                 4
      understanding now what the sweet shell was?                                     Q. And what did you mean by, "We could buy it and
                                                                                 5                                                            11:55
       A. Recycle Tech.                           11:54                              roll the deal in and start immediately"?
                                                                                 6
       Q. And you write:                                                              A. I don't know.
                                                                                 7
          "I   will put up money if you guys will and we will                         Q. Are you talking about a promotional campaign?
      just take more equity to get our investment back."                              A. Again, I don't know.
  9                                                                                   Q. And were you contemplating that Mr. Sepe would
          Do you see that?
 10
       A. I do.                               11:54                                  potentially buy the Recycle Tech vehicle?                 11:56
 11
       Q. In this e-mail, were you asking Mr. Van Nguyen                                 MR. COX: Object to form.
 12
      and Mr. Fung to participate in the potential purchase of                           MR. SMITH: Form.
 13                                                                             13
      Recycle Tech?                                                                      THE WITNESS: I'm sorry. Can you explain your
 14                                                                                   question?
       A. Yes.
 15
       Q. And what did you mean by, we will take more                 11:55          BY MS. NESTOR:                                   11:56
 16
      equity to get our investment back?                                              Q. Okay. On first line of the e-mail it says:
 17
       A. I don't recall.                                                                "I cannot reach Kevin. I doubt lie will buy
 18                                                                             18
       Q. And the e-mail goes on to say:                                             another until we get Smart Holdings done."
 19                                                                                      Do you see that?
          "No forward necessary. It has $100,000
 20                                                                     11:54         A. I do.                               11:56
      convertible note which means we could buy it and roll the
                                                                                21
 21
      deal in and start immediately."                                                 Q. So was there a time when you thought Kevin Sepe
 21                                                                             22
          Do you see that?                                                           might be interested in buying the Recycle Tech shell?
 23                                                                                   A. I don't recall.
       A. I do.
 24                                                                                   Q. And this e-mail that's dated January 6, 2010,
       Q. What does, "no forward necessary" mean?
 25
       A. I don't know what -- I don't know what that         11:55                  does it refresh your memory as to when you were                  11:56


                                                                      75                                                                              76

      contemplating purchasing the Recycle Tech shell?                                A. I do.
  2
        A. It does.                                                                   Q. And have you seen this document before today?
  3
        Q. And do you believe it was around January of 2010?                          A. I saw this document in my deposition prep.
  4
        A. That's when this e-mail was.                                               Q. Okay. Other than in preparation for your
        Q. So do you believe that was when you were              11:56               deposition today, had you seen this document before?              11:5I:.
      contemplating purchasing the Recycle Tech shell?                                A. I don't recall.
  7
           MR. SMITH: Objection to form.                                              Q. And do you know who drafted the document marked
  8                                                                                  as Exhibit 53?
           THE WITNESS: Yes.
  9                                                                                   A. No.
      BY MS. NESTOR:
 to
        Q. Did you review the e-mail marked as Exhibit 140             11:57          Q. Were you ever provided a copy of what's been                 11:59
 11
      in preparation for your deposition today?                                      marked as Exhibit 53 other than in preparation for your
 12                                                                                  deposition?
        A. I don't believe so.
 13
        Q. Let me show you what's been previously marked as                           A. I don't recall.
 14
      Exhibit 53.                                                                     Q. And you'll see marked as -- or excuse me,
 15
           MR. COX: I'm sorry, what was the number?             11:57                attached as Exhibit A to Exhibit 53, there's a list of      11:59
 16
           MR. NEIMAN: 53.                                                           shareholders, number of shares, and number of
 17
      BY MS. NESTOR:                                                                 certificates. Do you see that?
 18
        Q. Mr. Thompson, please let me know when you've had                           A. Yes.
 19
      a chance to read Exhibit 53. Are you ready for some                             Q. And do you know who decided the names and the
 20
      questions?                                 11:58                               amounts listed on Exhibit A to Exhibit 53?                 11:59
                                                                                21
 21
        A. Yes.                                                                       A. No.
 22
        Q. And Exhibit 53 is titled, "Recycle Tech, Inc., a                            Q. And Exhibit A notes that OTC Solutions, LLC was
 23   Colorado corporation, unanimous written consent of                             to receive 2,325,000 shares, correct?
                                                                                24
 24
      directors to take action without meeting."                                      A. Yes.
                                                                                25                                                   12:00
 25
           Do you see that?                           11:58                            Q. In one certificate?


                                                                                                                   19 (Pages 73 to 76)


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          BY MS. NESTOR:                                                                your deposition today?
           Q. And did you tell Mr. Van Nguyen where he should                             A. No.
          deposit his Recycle Tech stock?                                                 Q. And was it your plan to begin the marketing
           A. No.                                                                       campaign of Recycle Tech on the week of February 15th?
           Q. Mr. Thompson, I'm showing you what was previously            12:20          A. I don't recall.                   12:23
          marked as Exhibit 130. Are you ready?                                          Q. And what oil deal is referenced for the week of
           A. Yes.                                                                      February 22nd?
           Q. Exhibit 130 appears to be an e-mail chain dated                            A. I don't know.
          February 9, 2010, between you, Jay Fung and Eric Van                              MR. SMITH: Objection to form.
 iu
          Nguyen. Do you see that?                       12:22                          BY MS. NESTOR:                               12:23
           A. Yes.                                                                        Q. Were you promoting a company that dealt with oil?
           Q. And at the top of the e-mail chain, the first                                 MR. COX: Form.
 13
          e-mail which is stamped at 4:21 p.m., is from Eric Van                                MR. SMITH: Join.
          Nguyen to you and Mr. Fung, and it says:                                              THE WITNESS: I don't know.
              "Hi, Anthony. Thanks for the good news. If you        12:22               BY MS. NESTOR:                                12:23
          want, we could do the following: Week of February 15th,                        Q. And you'll see that the e-mail goes on to say:
          we do Recycle Tech."                                                              "I'll get Prophet booked for that week for a full
              Do you see that?                                                          week blast for $130,000 or so."
 19        A. I do.                                                                         Do you see that?
  ,1
           Q. "Week of February 22nd, we get the oil deal with       12:22                A. I do.                            12:23
 21
          broker's report, et cetera, ready and build on some                             Q. And who was Prophet, P-R-O-P-H-E-T?
          leads, and week of March 2nd, we run the oil deal."                             A. Prophet was another newsletter company.
 2,           Do you see that?                                                            Q. And were you hiring Prophet to provide
           A. I do.                                                                     newsletters?
 25
           Q. Did you review this e-mail in preparation for        12:22
                                                                                   25
                                                                                         A. This e-mail was written from Eric Van Nguyen.         12:24


                                                                           91                                                                     92

             Q. Sure. I'm asking you if you were hiring Prophet                           A. I do.
   2
           to provide newsletters?                                                        Q. And is Eric Van Nguyen referring to the subject
   3
                MR. BAKER: Objection.                                                   matter promotion?
      4
                THE WITNESS: It looks look Eric was trying to                               MR. SMITH: Object to form.
   5
             hire Prophet.                        12:24                                         MR. COX: Object to form.                12:25
                 MR. COX: Objection.                                                            THE WITNESS: I don't know what he's referring
      7
           BY MS. NESTOR:                                                                 to.
   8
            Q. Okay. Well, I'm asking you if you -- not looking                         BY MS. NESTOR:
   9
           at the e-mail, did you ever hire Prophet to issue these                       Q. And the Smart Holdings promotional campaign that
 to        letters?                               12:24                                 you did, was that also completed by Mr. Van Nguyen?        12:2f
 11
            A. I don't recall.                                                              MR. SMITH: Object to form.
 12
            Q. And in relation to this c-mail, do you know                                      THE WITNESS: Yes.
 13
           whether Eric Van Nguyen, in fact, hired Prophet to issue                     BY MS. NESTOR:
 14
           newsletters?                                                                   Q. Was it also completed by Mr. Van Nguyen?
            A. I don't know.                      12:24                                         MR. SMITH: Object to form.               12:25
 16
            Q.  Do  you know whether those newsletters were                                     MR. COX: Object to form.
 11        regarding Recycle Tech?                                                              THE WITNESS: I'm sorry. Can you repeat the
 18
               MR. SMITH: Objection to form.                                              previous question?
 19
                 MR. COX: Same.                                                              MR. SMITH: I think it was the exact same
 20
                 THE WITNESS: I don't know.                             12:24             question twice in a row.                  12:25
 21
           BY MS. NESTOR:                                                                       MS. NESTOR: I'm sorry. I meant one for Mr. Fung
 22
            Q. And the e-mail goes on to say:                                             and one for Mr. Vail Nguyen.
 23              "The only thing is I'm not sure when Smart                                  MR. COX: For the record, I object to the form of
 24
           Holdings was scheduled."                                                       both questions.
 25
               Do you see that?                                 12:25                        MR. SMITH: Same.                          12:25


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             THE WITNESS: Yes.                                                     some questions.
                                                                               2
      BY MS. NESTOR:                                                                 A. Okay.
       Q. So they both performed a promotional campaign for                          Q. Exhibit 132, is an e-mail chain between you, Mr.
      Smart Holdings, correct?                                                     Emig and Mr. Van Nguyen dated February 22, 2010. Do you
             MR. COX: Form.                            12:25                   5   see that?                                    12:28
             MR. SMITH: Join.                                                  6     A. I do.
             THE WITNESS: Yes.                                                             MR. SMITH: Object to form.
      BY MS. NESTOR:                                                               BY MS. NESTOR:
                                                                               9
        Q. And you'll see the e-mail one step down that says                         Q. And had you seen what's been marked as
      at 4:34 p.m. you responded:                          12:26              to   Exhibit 132 prior to today in preparation for your                  12:28
                                                                              11
             "Call you guys soon. Think oil deal ready for                         deposition?
                                                                              12
      21st of February."                                                             A. No.
                                                                              13
 13
             Do you see that?                                                        Q. And did you receive the e-mail as indicated on
                                                                              19
        A. I do.                                                                   Exhibit 132?
                                                                              15                                                     12:29
        Q. Do you know what oil deal you're referring to in         12:26            A. It was sent to me.
                                                                              16
      this e-mail?                                                                   Q. And did you receive it?
        A. I do not.                                                                 A. I don't recall.
        Q. Did you send and receive the e-mails as indicated                  18     Q. Do you know who produced this to the Commission?
                                                                              19
 19
      on Exhibit 130?                                                                A. I don't recall.
        A. Yes.                                12:26                                 Q. Well, you'll see at the top there's some text                12:29
 21
             MR. SMITH: Objection to that last question.                      21   that says Anthony Thompson. It's a little hard to read.
                                                                              22
 22
        Form.                                                                        A. Okay.
                                                                              23
      BY MS. NESTOR:                                                                 Q. And the bottom there's a Bates stamp with a case
 24
        Q. Mr. Thompson, I'm showing you what's previously                    24   number and some numbers.
 25
      marked as Exhibit 132. Let me know when you're ready for 12:27          zs     A. Okay.                                    12:29


                                                                                                                                                       96

        Q. Do you know if those are documents that you                              A. I don't know if he issued it. I see one written
  2
       produced to the SEC?                                                        here.
  3
        A. Yes.                                                                     Q. And did you retain him to write a newsletter
        Q. So if you produced it to the SEC, did you print                         regarding Recycle Tech?
  5
       it from your e-mails?                               12:29                    A. No.                                  12:31
                                                                               6
             MR. SMITH: Objection to form.                                          Q. Did you provide Mr. Connelly with any of the text
             THE WITNESS: Yes.                                                     that he used in this newsletter as contained in
  8
      BY MS. NESTOR:                                                               Exhibit 132?
  9
        Q. And do you know who James@PennyStockProfit.com                            A. I don't recall.
 10
       is?                                                                          Q. And do you know whether Mr. Connelly was paid any 12:31
 11
        A. James was the owner of Penny Stock Profit.                              compensation for issuing a newsletter regarding Recycle
 12
        Q. And is that James Connelly?                                             Tech?
                                                                              13
 13
        A. I believe that's his name.                                                A. I don't know.
 14
        Q. C-O-N-N-E-L-L-Y.                                                         Q. Have you ever run marketing campaigns —
 15
             And Mr. Connelly operated a newsletter that              12:30          A. Excuse me. Let me see. The disclaimer                12:31
 16
       promoted penny stock companies. Is that correct?                            represents that he was compensated $50,000, but I don't
 17
              MR. SMITH: Objection to form.                                        know that.
 18
              MR. COX: Same.                                                  18
                                                                                     Q. So you're referring to the third page of
 19
              THE WITNESS: Can you elaborate on your question?                     Exhibit 132?
 20
      BY MS. NESTOR:                                        12:30                    A. Correct.                             12:32
 21
         Q. What part of it don't you understand and I'll try                        Q. And had you ever run a marketing campaign at the
 22
       to elaborate?                                                               same time that Mr. Connelly ran a marketing campaign for
 23
        A. 1 mean, I don't know exactly what type of                               the same company?
 24
       companies he did campaigns for.                                               A. Yes.
 25
         Q. Did he issue a newsletter regarding Recycle Tech? 12:30                  Q. What companies?                              12:32


                                                                                                                   24 (Pages 93 to 96)

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                      UNITED STATES DISTRICT COURT                        APPEARANCES:
                      SOUTHERN DISTRICT OF FLORIDA.          On Behalf of the Plaintiff:
                                                                SECURITIES AND EXCHANGE COMMISSION
                     CASE NO.: 1:12—cv-21656—JAL                801 BRICKELL AVENUE,
                                                                SUITE 1800
                                                                MIAMI, FLORIDA, 33131
      SECURITIES AND EXCHANGE                                   305-982-6300
      COMMISSION,                                               NESTOR@SEC.GOV

                    Plaintiff,                                  BY: CHRISTINE NESTOR, ESQUIRE

                                                             On Behalf of the Defendants:

      RECYCLE TECH, INC., RYAN                                  CLYDE SNOW & SESSIONS
      GONZALEZ, OTC SOLUTIONS LLC,                              633 WEST FIFTH STREET,
                                                                26TH FLOOR
      ANTHONY THOMPSON, PUDONG LLC,                             LOS ANGELES, CALIFORNIA, 90071
      and JAY FUNG,                                             424-672-4815
                    Defendants.                                 MLS@CLYDESNOW.COM
                                                                BY: MARK L. SMITH, ESQUIRE
                                                                CLYDE SNOW & SESSIONS
                                                                ONE UTAH CENTER,
                                VOLUME II OF II                 201 SOUTH MAIN STREET
                                                                SALT LAKE CITY, UTAH, 84111
                     DEPOSITION OF ANTHONY THOMPSON             801-322-2516
                                                                BRB@CLYDESNOW.COM
                        Tuesday, October 15, 2013               DLW@CLYDESNOW.COM
                                                        17
                                                                BY: BRENT R. BAKER, ESQUIRE
                       10:15:02 a.m. — 6:44:38 p.m.                D. LOREN WASHBURN, ESQUIRE
                           801 Brickell Avenue
                          Miami, Florida 33131                  SALLAH, ASTARITA & COX, LLC
                                                                ONE BOCA PLACE,
                                                                2255 GLADES ROAD
                     (Stenographically) Reported By:            BOCA RATON, FLORIDA, 33431
                            DONNA GUNION, FPR                   561-989-9080
                      FLORIDA PROFESSIONAL REPORTER             JLC@SALLAHLAW.COM
                                                                JDS@SALLAHLAW.COM

                                                                BY: JEFFREY L. COX, ESQUIRE
                                                                  JAMES D. SALLAH, ESQUIRE




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       BY MS. NESTOR:                                                                   THE WITNESS: I don't recall.
  •     Q. Is that your handwriting on Exhibit 177, each of                             (Plaintiff's Exhibit No. 178, Penson Customer
   3
       the pages?                                                                     Account Margin and Short Account Agreement, was marked
   4
            MR. SMITH: Objection to form.                                             for identification.)
   5
            THE WITNESS: Yes.                                04:21                 BY MS. NESTOR:
   6
       BY MS. NESTOR:                                                                Q. Mr. Thompson, I'm showing you what's been marked
   •    Q. And if you turn to the last page of Exhibit 177                         as Exhibit 178. And Exhibit 178, the first page appears
   8
       where it asks who were you introduced by and it said Han                     to be a customer account margin and short account
   •   Gracin/Frank Benedetto. Do you see that?                                     agreement with Penson Financial Services. Do you see
  10
        A. Yes.                              04:21                                  that?                               04:23
  11
         Q. And Hank Gracin was an attorney that OTC                                  A. I do.
  12
       Solutions used, correct?                                                       Q. And it's indicating that an account was going to
  13
        A. That's correct.                                                          be open for OTC Solutions, LLC, on or about January 20,
  14
         Q. And who is Frank Benedetto?                                             2010. Do you see that?
  15
         A. Frank Benedetto was a friend of his.                04:21                 A. I do.                            04:23
  16
         Q. A friend of Hank Gracin?                                                  Q. And is that your signature contained in two
  17
         A. A friend of Hank Gracin's, so Hank introduced me                        places on the top and on the bottom of the first page of
  18
       to Frank.                                                                    Exhibit 178?
  19
         Q. And was Frank a broker?                                                  A. Yes.
  20
         A. Frank -- I don't recall.                    04:22                           MR. SMITH: Objection to form.                           04:23
  21
         Q. Who did he work with?                                                  BY MS. NESTOR:
  22
         A. You know what, I don't recall.                                          Q. And the second and third pages of Exhibit 178 arc
  23
         Q. Was it one of the brokerage firms that you were                         Penson Financial Services new account approval form. Do
  24
        using?                                                                      you see that?
  25
            MR. SMITH: Objection to form.                       04:22                A. Yes.                                    04:23


                                                                 197                                                                              198

        Q. And does the second page of Exhibit 178 contain                         Exhibit 179?
   2
       your signature at the bottom?                                                A. I'm almost done. Okay.
   3
        A. Yes.                                                                      Q. And the first page of Exhibit 179 appears to be a
   4
        Q. And the third page of Exhibit 178, does that                            letter from OTC Solutions, LLC dated February 12, 2010,
   5
       contain your signature?                     04:24                           to D. Weckstein, the letter D, Weckstein & Company. Do           04:26
   6
        A. Yes.                                                                    you see that?
   7
        Q. And is that your handwriting on Exhibit 178?                             A. I do.
                                                                               a
   8
        A. It looks like it.                                                        Q. And is that your signature at the bottom of the
   9
        Q. And the third page of Exhibit 178 indicates that                        first page of Exhibit 179?
  10
       you were introduced by Kevin Sepe. Do you see that?             04:2          A. It is.                          04:26
  11
        A. I do.                                                                     Q. And the letter indicates:
  12
        Q. And did Kevin Sepe introduce you to a broker that                  12
                                                                                       "To whom it may concern: Please transfer 500,000
  13
       used Penson Financial Services as a clearinghouse?                          free trading shares of Blue Gem Enterprise from my OTC
  14
         A. I don't recall.                                                   14
                                                                                   Solutions, LLC, Account No. 3100-1001 to Ronny J.
  15
         Q. And did you write in that line where it says who         04:24         Halperin, PA, Account No. 31001043. Do you see that?            04:27
  16
       introduced, who were you introduced by, did you write the                     A. I do.
  17
       name Kevin Sepe?                                                       17
                                                                                     Q. And why were you requesting the transfer of
        A. That's the one place that looks strange to me.                          500,000 free trading shares of Blue Gem Enterprises to
  19
       That's why I did a double take.                                             Ronny J. Halperin's account?
  20
            I don't recall.                      04:25                                  MR. SMITH: Objection to form.                   04:27
  21
            (Plaintiffs Exhibit No. 179, February 12, 2010                    21
                                                                                        THE WITNESS: Return of stock.
         Letter, was marked for identification.)                              22
                                                                                   BY MS. NESTOR:
  23
       BY MS. NESTOR:                                                               Q. You were returning Blue Gem stock to Ronny J.
  24
        Q. I'm showing you what's been marked as                              24
                                                                                   Halperin, PA?
  25
       Exhibit 179. Have you had a chance to review              04:25        25
                                                                                     A. Yes.                             04:27


                                                                                                                23 (Pages 195 to 198)

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                                                                   199                                                                          200

        Q. Why were you returning stock to him?                                     A. I do.
   2                                                                           2
           MR. SMITH: Objection to form.                                             Q. Does it contain your signature at the bottom of
   3                                                                           3
           THE WITNESS: Because we were -- we decided not                          the second page of Exhibit 179?
                                                                               4
        to stay with the Blue Gem awareness campaign, so this                       A. It does.
        was a return of stock.                     04:28                             Q. And the letter writes:                     04:29
                                                                               6
       BY MS. NESTOR:                                                                   "To whom it may concern: Please transfer 900,000
                                                                               7
        Q. Did you originally obtain the stock from Ronny J.                       free trading shares of Blue Gem Enterprise from my Week"
   8
       Halperin?                                                               8   -- seems like the page is cut off -- "Solutions, LLC,
   9                                                                           9
        A. I don't recall.                                                         Account No. 3100-1001 to my Stock USA Investments,
  10
        Q. Did someone instruct you to transfer 500,000 free        04:28     "    Account No. 34029348." Do you see that?                   04:29
  11
       trading shares of Blue Gem to Ronny J. Halperin?                             A. I do.
  12                                                                          12
        A. I don't recall.                                                          Q. And why were you requesting a transfer of 900,000
  13                                                                          13
        Q. And why did you choose to have the shares                               free trading shares of Blue Gem from one account to the
  19                                                                          14
       transferred to Ronny J. Halperin's account rather than                      other?
  15
       have it put back in certificate form?               04:28              is        MR. SMITH: Objection to form.                  04:30
  16                                                                          16
           (Mr. Cox entered the deposition room.)                                       THE WITNESS: I don't recall.
  17                                                                          17
           MR. BAKER: Objection.                                                   BY MS. NESTOR:
  18                                                                          18
           THE WITNESS: I don't recall.                                              Q. Were you making this request for a transfer at
  19                                                                          19
           MR. COX: Just for the record, I just walked back                        anyone's instruction?
  20                                                                          20
        in the room.                            04:29                               A. I don't recall.                       04:30
  21                                                                          21
       BY MS. NESTOR:                                                                   MR. SMITH: Same objection.
  22
        Q. If you turn to the second page of Exhibit 179, it                  22   BY MS. NESTOR:
  23                                                                          23
       appears to be an OTC Solutions, LLC letter to Penson                         Q. If you turn to the third page of 179, it appears
  24                                                                          24
       Financial Services, Inc., dated February 1st, 2010. Do                      to be a letter from OTC Solutions, LLC to D. Weckstein &
  25                                                                          25
       you see that?                             04:29                             Company dated March 2nd, 2010. Do you see that?                 04:30


                                                                   201                                                                          202

         A. I do,                                                                  transferred to your bank account?
   2
         Q. And is that your signature at the bottom of the                             MR. SMITH: Objection to form.
   3
       third page of Exhibit 179?                                                       THE WITNESS: I don't know whether -- whether or
                                                                               4
        A. Yes.                                                                      not it was or not.
   5
         Q. And the letter writes:                       04:30                     BY MS. NESTOR:                                    04:31
   6
            "To whom it may concern: Please wire all                                 Q. Was there any other bank account that you used in
       available funds from my OTC Solutions, LLC, Account No.                     March of 2010 where proceeds of your brokerage account
       3100-1001 to the following," and then it lists a PNC Bank                   would be sent?
   9
       account. Do you see that?                                                     A. No.
  to    A. I do.                                04:30                         10
                                                                                        (Plaintiffs Exhibit No. 180, D. Weckstein &
  it    Q. And were you instructing D. Weckstein & Company                    11
                                                                                     Company February 2010 Statement of Account for OTC
  12                                                                          12
       and Penson Financial Services to wire the proceeds of                         Solutions, LLC, was marked for identification.)
  13                                                                          L3
       your brokerage account to your bank account?                                BY MS. NESTOR:
  14                                                                          14
            MR. SMITH: Objection to form.                                            Q. Mr. Thompson, I'm showing you what's been marked
                                                                              15
  15
            THE WITNESS: Yes.                            04:31                     as Exhibit 180, which appears to be a D. Weckstein &              04:3:
  14   BY MS. NESTOR:                                                         16
                                                                                   Company Statement of Account for OTC Solutions LLC
  17                                                                          17
         Q. And then if you turn to the last page of                               Account No. 31001-001. Do you see that?
  to   Exhibit 179, which appears to be a Penson Financial
                                                                              18
                                                                                     A. I do.
  19
       Services, Inc. fed wire request form dated March 2nd,                  19     Q. And it's fo• the statement period of February 1,
                                                                              20
  20
       2010. Do you see that?                           04:31                      2010, to February 28, 2010. Do you see that?                04:32
  21                                                                          21
         A. I do.                                                                    A. I do.
  22                                                                          22
         Q. And it's showing an amount of transfer of                                Q. And it notes Donald E. Weckstein as your
  23                                                                          23
       $420,492.86 to PNC Bank. Do you see that?                                   financial adviser. Is that correct?
  24
        A. I do.
                                                                              24    A. Yes, it does.
  25
        Q. And so on March 2nd, 2010, was that sum                  04:31 1          Q. Was he your financial adviser?                     04:33


                                                                                                             24 (Pages 199 to 202)

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         A. When you say financial adviser, can you give                                Q. So as of February 22, 2010, is it your
   2   me -- can you explain to me what you mean? I didn't get                         understanding that the Recycle Tech stock in your account
   3   financial advice from him.                                                      was available to be sold?
   4                                                                                    A. That's what it says here.
         Q. Okay. Fair enough. And did you have
   •   authorization to trade on the account at D. Weckstein & 04:33                        MR. BAKER: Objection.                          04:35
       Company under Account No. 3100-1001?                                            BY MS. NESTOR:
         A. Yes.                                                                         Q. And then it shows on the next page under account
   8                                                                                   activity --
         Q. Did anyone else?
   9                                                                                    A. Yes.
         A. No.
  10
         Q. And if you turn to the third page of Exhibit 180,       04:33                Q. -- on February 22, 2010, that 25,000 Recycle Tech          04:35
                                                                                  11
  11
       which is known as Page 2 of 6 ---                                               shares were sold. Do you see that?
  12                                                                                     A. I do.
         A. Um-hm.
  13
         Q. Are you there?                                                               Q. And then on February 23, 2010, 335,000 Recycle
  14                                                                                   Tech shares were sold. Do you see that?
         A. The third page? Three of six.
  15
         Q. Two of six.                             04:34                                A. I do.                              04:35
  16
         A. Oh, I'm sorry. Okay. Yes.                                                    Q. Did you authorize the sale of Recycle Tech shares
  17
         Q. And it's showing on February 8, 2010, that                                 from the OTC Solutions brokerage account?
  18                                                                          I   is     A. Yes.
       2,325,000 shares of Recycle Tech stock was received. Do
  19
       you see that?                                                                     Q. Did you provide your broker with instructions to
  20
         A. I do.                               04:34                                  sell all of your Recycle Tech shares?                 04:35
  21
         Q. And then if you turn to Page 3 of 6, which is                                A. I don't recall.
  22
       actually the fourth page of the exhibit, on February 22,                             (Plaintiffs Exhibit No. 181, D. Weckstein &
  23
       2010, it's showing that 2,325,000 Recycle Tech shares                             Company March 2010 Statement of Account for OTC
  24
       were cleared. Do you see that?                                                    Solutions, LLC, was marked for identification.)
  25                                            04:34
         A. I do.


                                                                     205                                                                           206

       BY MS. NESTOR:                                                                    A. Yes.
                                                                                   2
   2
        Q. Mr. Thompson, I'm showing you what's been marked                              Q. And why did you receive 25 million shares of
                                                                                   3
   •   Exhibit •181. Exhibit 181 appears to be D. Weckstein &                          Lyric Jeans?
                                                                                   4
       Company, Inc., statement of account for an account in the                         A. For an awareness campaign.
       name of OTC Solutions, LLC ending account number 1001              04:36          Q. And is that a marketing campaign that you were             04:39

       for the period of March 1, 2010, to March 31, 2010.                             hired to do for Lyric Jeans?
   •   Correct?                                                                          A. Yes.
        A. Correct.                                                                      Q. And did Kevin Sepe hire you for that marketing
        Q. And on the third page of Exhibit 181, which is                              campaign?
   0   labeled Page 2 of 7, it shows under account activity that 04:37                   A. Yes.                                04:39
                                                                                  11
       on February 24, 2010, 374,798 Recycle Tech shares were                               (Plaintiffs Exhibit No. 182, Stock USA Execution

       sold. Correct?                                                                    Services, Inc., February 2010 Statement of Account for

        A. Yes.                                                                          OTC Solutions, LLC, was marked for identification.)
                                                                                  19
        Q. And it also shows that on February 25th, 2010,                              BY MS. NESTOR:
  13
       1,590,202 Recycle Tech shares were sold, correct?          04:37                  Q. I'm showing you what's been marked as Exhibit
  r6
        A. Yes.                                                                        182, which appears to be a Stock USA Execution Services,
  17     Q. Did you authorize the sale of Recycle Tech shares                          Inc., statement of account for an account in the name of

       as indicated on Exhibit 181?                                                    OTC Solutions LLC ending in account number 9348 for the
  19                                                                                   statement period of February 1st, 2010, through
         A. Yes.
                                                                                       February 28th, 2010. Is that correct?                   04:40
         Q. And if you turn to the next page of Exhibit 181, 04:37
  21   which is the fourth page of Exhibit 181, it's showing                             A. Yes.
                                                                                         Q. And did you hold an account at Stock USA
       that you received 25 million shares of Lyric, L-Y-R-I-C,
                                                                                       Execution Services, Inc.?
       Jeans, J-E-A-N-S, Inc.
                                                                                         A. When you say did you ---
         A. Yes.
  25                                                                                     Q. Did OTC Solutions?                             04:40
         Q. Do you see that, sir?                    04:38


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        to run the IR for it?"                                                          paid for that."
   2                                                                                         Do you see that?
               Do you see that?
   3     A. Yes.                                                                          A. I do.
   4
         Q. And LYJN is the ticker symbol for Lyric Jeans,                                Q. And what money were you paid for the Lyric Jeans
   5
        correct?                                    05:02                               marketing campaign?                              05:02
         A. Yes.                                                                          A. I don't recall.
   7
         Q. And what does IR mean?                                                        Q. Were you paid cash for the Lyric Jeans marketing
   8           MR. COX: I'm going to object to the form of the                          campaign?
   9
          last   question.                                                                   MR. SMITFI: Object to form.
 10            MR. SMITH: Object to form.                     05:02                          MR. COX: Object to form.                     05:02
 11            THE WITNESS: I'm not sure.                                                    THE WITNESS: I don't recall.
 12
        BY MS. NESTOR:                                                                  BY MS. NESTOR:
  13
          Q.     Is that investor relations?                                              Q. Did Kevin Sepe pay you cash for the Lyric Jeans
  14
         A. It could be.                                                                marketing campaign?
  15           MR. COX: Object to the form of the last            05:02                      MR. SMITH: Object to form.                    05:03
                                                                                   16
  16
          question.                                                                          MR. COX: Form.
        BY MS. NESTOR:                                                                       THE WITNESS: I don't recall.
  18
          Q. You did, in fact, complete a marketing campaign                            BY MS. NESTOR:
  19
        for Lyric Jeans, correct?                                                         Q. Did you ever return any money to Ronny Halperin?
  20           MR. COX: Object to form.                      05:02                           MR. SMITH: Object to form.                      05:03
  21           THE WITNESS: Yes.                                                             THE WITNESS: I don't recall.
  22
        BY MS. NESTOR:                                                                  BY MS. NESTOR:
  23
          Q. And Mr. Halperin is saying also in the e-mail:                               Q. Mr. Thompson, I'm showing you what was previously
  24
               " If   so, we will gear up for your campaign. If                         marked Exhibit 93.
  25                                                                        05:0          A. Okay.                               05 04
        not,   let me know and please return the money you were


                                                                          225                                                                     226

          Q. Do you recognize Exhibit 93?                                               transfer to OTC Solutions, LLC in the amount of $150,000.
                                                                                    2
   2
          A. No.                                                                        Do you see that?
   3
          Q. Exhibit 93 appears to be a BNY Mellon statement                             A. Yes, I do.
                                                                                    1
        of account in the name of Ronny J. Halperin, PA. Do you                          Q. And it's referencing Blue Gem. Do you see that?
   5
        see that?                                    05:04                               A. I do.                             05:06
          A. Yes.                                                                        Q. Did you receive an additional amount of $150,000
   1      Q. And I clipped a page for you. Actually, can you                            from Ronny J. Halperin, PA on or about February 10th,
        go back to the third page? I apologize.                                         2010?
                                                                                    9
   9
          A. I'm sorry, which page?                                                      A. I don't recall.
  10                                                              05:04            to       MR. SMITH: Object to form.                   05:06
          Q. The third page of Exhibit 93.
  11.     A. Okay.
                                                                                   11
                                                                                            MR. COX: Form.
                                                                                   12
  12
          Q. Do you see where it's showing on February 8th,                             BY MS. NESTOR:
  13    2010, an outgoing wire transfer to OTC Solutions, LLC, in                        Q. And then you'll see on February 17, 2010, it's
  14
        the amount of $150,000?                                                         showing an incoming wire from OTC Solutions, LLC in the
  15                                                                               is   amount of $95,000. Do you see that?                  05:06
          A. I do.                                  05:05
                                                                                   16
  16
          Q. And did you receive $150,000 from Ronny J.                                  A. Yes.
  17
        Halperin, PA trust account?                                                      Q. Did you send a wire in the amount of $95,000 to
                                                                                   18             Halperin?
  18
          A. I don't recall.                                                            Ronny
                                                                                   19
  19
          Q. Did you receive $150,000 from Ronny J. Halperin                             A. I do not recall.
  20     regarding the Blue Gem marketing campaign?                        05:05         Q. And did anyone have authorization to make wire           05:0(
  21                                                                               21   transactions from your bank accounts, from OTC bank
                 MR. COX: Object to form.
                                                                                   22
  22             THE WITNESS: I don't recall.                                           accounts other than yourself?
                                                                                   23
  23
        BY MS. NESTOR:                                                                   A. They shouldn't have.
  24
          Q. And if you turn to the next page, you'll see on                             Q. So as far as you're aware, you were the only
  25     February 10th, 2010, it's showing an outgoing wire                05:05   25
                                                                                        person authorized to transact wires from your OTC            05:0(


                                                                                                                30 (Pages 223 to 226)

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         A. Yes, I do.                                                               affirmative defense which reads:
   2
         Q. And have you seen the document marked as                                      "Plaintiff is estopped from maintaining its
       Exhibit 185 prior to today?                                                   claims by rulings and already made in this case regarding
   4
         A. Yes, I have.                                                             adequacy of the disclaimer and by other positions it has
   5
         Q. And did you review the answer and affirmative               05:37    5
                                                                                     already taken in this litigation and/or in other            05:39
       defenses prior to it being submitted to the Court?                        6   governmental actions."
         A. Yes.                                                                          Do you see that?
         Q. Did you provide your input in the answer and                              A. Yes.
   9
       affirmative defenses?                                                          Q. Do you have any understanding of what the fifth
  10
         A. Yes.                                05:37                           10   affirmative defense relates to?                     05:39
  11
         Q. Can you turn to the second page of Exhibit 185,                               MR. SMITH: Objection. I just want to talk about
  12
       paragraph 4, the last line says:                                         12     if you have any understanding separate and apart from
  13
            "Thompson and OTC deny that Thompson sold any                             any communications you've had with counsel regarding
  14
       stock of Recycle Tech."                                                        our strategy or our case or our assertion of
  15
            Do you see that?                         05:37                      is    affirmative defenses, things like that, then you can      05:39
  16
         A. Yes.                                                                16    answer the question, but not anything that is strictly
  17
         Q. And why do you deny that line?                                      10     information that was given to you by counsel.
  18
         A. Well, the stock was in -- the stock was in OTC                      18   BY MS. NESTOR:
  19
       Solutions.                                                                     Q. There was a question pending. Do you have any
  20
         Q. Okay. So you do admit that you sold, you,            05:38          20   understanding of what is meant in the fifth affirmative            05:40
                                                                                21
  21
       Anthony Thompson, sold OTC's stock, correct?                                  defense?
  22
         A. Yes.                                                                22        MR. SMITH: Same objection. Object to form as
  23
            MR. SMITH: Objection to form.                                       23     well.
  24
       BY MS. NESTOR:                                                           24        THE WITNESS: Can you repeat the question?
  25
         Q. And if you could turn to Page 18 of 20, the fifth 05:39


                                                                  237                                                                              238

       BY MS. NESTOR:                                                                BY MS. NESTOR:
   2
        Q. We've read what the fifth affirmative defense                               Q. And where it refers to other positions the
   3
       states, correct?                                                               plaintiff has already taken in this litigation, do you
        A. Yes.                                                                       know what's being referred to there?
        Q. Okay. And do you have any understanding what                 05:41              MR. SMITH: Same objections. Both to privilege                 05:4_
       that affirmative defense means?                                                 and to form.
            MR. SMITH: Same objections.                                                    THE WITNESS: No. I'm unclear.
           THE WITNESS: That there was a ruling made as to                           BY MS. NESTOR:
   9
        the adequacy of my disclaimers with regards to posting                         Q. And where it refers to other governmental action,
  10
        compensation.                                                                what's being referred to there?                            05:42
  11
       BY MS. NESTOR:                                                                  A. Other potential investigations.
  12
         Q. What ruling are you referring to?                                          Q. Which potential investigations are you talking
  13
            MR. SMITH: Objection to form.                                             about?
  14
            THE WITNESS: The ruling that I didn't have to                                  MR. SMITH: Same objections.
  15
         post who -- the name of the nonaffiliated third party. 05:41                      MR. BAKER: Objection.                               05:42
  16
       BY MS. NESTOR:                                                                      THE WITNESS: Well, I received subpoenas from
  17
         Q. Are you referring to an order on a motion to                               other -- in the past.
  18
       dismiss?                                                                      BY MS. NESTOR:
  19
        A. Yes.                                                                        Q. You've received subpoenas from ---
  20
         Q. And are you referring to anything else other than 05:41                    A. The Securities Exchange Commission.                          05:42
  21
       the order on the motion to dismiss?                                             Q. In relation to what investigation?
  22
            MR. SMITH: Same objection.                                                     MR. SMITH: Same objections.
  23
            MR. BAKER: Objection.                                                          THE WITNESS: Red Branch Technologies.
  24
           THE WITNESS: I'm unclear.                                                   Hydrogenetics. I don't recall the other ones.
  25




                                                                                                               33 (Pages 235 to 238)

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   1
       BY MS. NESTOR:                                                                       THE WITNESS: I forget what we spoke about when
        Q. You recall that there were other subpoenas that                               we went over this.
                                                                                   3
   3
       you received?                                                                   BY MS. NESTOR:
   4
        A. I recall one other.                                                           Q. And do you have any facts that support the sixth
   5
           MR. SMITH: Objection to form.                         05:43                 affirmative defense?                      05:44
   6
       BY MS. NESTOR:                                                                    A. Again, I forget what we discussed when we went
                                                                                   7
        Q. Was that Blast Applications?                                                over this particular section.
   8
        A. Yes.                                                                    a     Q. And the governmental investigations, are those
   9
        Q. Any others than the three that you've referenced?                           the three that you referenced earlier regarding the
  10
        A. Not that I recall.                        05:43                             subpoena that you received from the SEC?                  05:45
  11
        Q. And the sixth affirmative defense says:                                11
                                                                                            MR. SMITH: Objection to form.
  12
           "Plaintiffs action here is preempted by other                                    THE WITNESS: Yes.
  13                                                                              13
       governmental investigations, actions or overlapping                             BY MS. NESTOR:
  14
       claims that preempt the right of plaintiff to bring this                   /9
                                                                                         Q. And the seventh affirmative defense says:
  15
       action."                                   05:43                           15
                                                                                            "Plaintiffs claim cannot be maintained in whole 05:45
  16                                                                              16
           Do you see that?                                                            or in part because defendants sought and received legal
  17
        A. Yes.                                                                        advice on the issues raised in the complaint and relied
  18
        Q. And what do you understand that to mean?                                    on that advice."
  19
           MR. SMITH: I'm going to object on the basis of                                   Do you see that?
  20
        privilege. If you have an independent understanding              05:44           A. Yes.                                05:45
  21
        of that, and by that I mean understanding that was not                           Q. And what attorneys are you referring to there?
  22
        either given to you or formed from communications with                           A. Leslie Marlow and Flank Gratin.
        counsel, then you can answer that, but don't answer                              Q. And then they were attorneys for OTC Solutions,
  24
        anything that you -- that -- anything that is a result                    29
                                                                                       correct?
  25
        of an attorney-client communication.                     05:44                   A. Yes.                                05:46


                                                                   241                                                                           242
   1
         Q. And what advice are you referring to in the                                 Q. Mr. Thompson, let me back up for a minute. When
   2
       affirmative defense number seven?                                           2   was the last time that you issued any promotional
                                                                                   3
   3
            MR. SMITH: Objection to form,                                              newsletters through OTC Solutions?
   4
            MR. BAKER: Objection as to privilege as well.                               A. Right before I sold.
   5
            THE WITNESS: I relied on their legal advice for               05: 6    5    Q. So that would be November of 2010?                05:48
   6
         disclaimers and my basic business.                                                MR. COX: Objection to form.
   7
       BY MS. NESTOR:                                                                      MR. SMITH: Objection.
   a     Q. And did Leslie Marlow or Hank Gracin review the                        8
                                                                                           THE WITNESS: I don't recall the exact dates.
   9
       Recycle Tech newsletters that you issued?                                       BY MS. NESTOR:
  10
            MR. SMITH: Objection to form.                         05:46                  Q. The asset purchase agreement marked as Exhibit           05:48
  11                                                                              11
            THE WITNESS: No, but they reviewed my                                      154 is dated November 30, 2010. Is that what you're
  12                                                                              lz
         disclaimers at length.                                                        referring to when you said, "right before I sold"?
  13
       BY MS. NESTOR:                                                             13
                                                                                        A. Right around the time that I sold.
  14                                                                              19
         Q. And when did your relationship with Leslie Marlow                            Q. And since the asset purchase agreement, have you
  15                                                                              15                                                 05:49
       and Hank Gracin begin?                                    05:47                 issued any newsletters?
  16
               MR. SMITH: Objection to form.                                      la
                                                                                        A. No.
  17
            THE WITNESS: I don't recall the exact time.                           17     Q. I'm going to show you what was previously marked
  18
       BY MS. NESTOR:                                                             18
                                                                                       as Exhibit 100. Do you recognize Exhibit 100?
  19                                                                              19
         Q. Do you have an ongoing business relationship with                           A. Yes.
  20
       them?                                        05:47                                Q. Did you review Exhibit 100 in preparation for      05:49
  21
         A. I still use Leslie Marlow's services from time to                     21
                                                                                       your deposition today?
  22
       time.                                                                      22
                                                                                        A. Yes.
  23                                                                              23
         Q. For what type of legal services?                                             Q. And Exhibit 100 is an e-mail chain between you,
  24     A. For example, Muscle Farm contract, contract work,                     29
                                                                                       Hank Gracin and Leslie Marlow -- excuse me, and Andrew
  25
       things of that nature.                    05:48                            25   Vines dated January 22nd and January 19th, 2010, is that 05:51


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                                      FLORIDA I NEW YORK I NEW JERSEY


                                           September 24, 2013

Via UPS Overnight and Email

Peter A. Pizzani
Senior Counsel
U.S. Securities and Exchange Commission
3 World Financial Center
New York, New York 10281-1022

          Re:    Subpoenas

Dear Mr. Pizzani:

        On July 23, 2013, the SEC Staff ("Staff') sent investigative subpoenas to Anthony
Thompson, OTC Solutions, Inc., Jay Fung, and Pudong, LLC., ("Clients") captioned In Re Blast
Applications, Inc. (NY-8264) (Attached as Exhibit A). The Staff later sent, with respect to
Mr. Thompson and OTC Solutions, several subsequent revisions to its original subpoena
later on the same day using the SEC's secure mail system (Attached as Exhibit B).1

       On July 29, 2013, you spoke with Mr. Thompson's co-counsel, Maranda Fritz, about
the subpoenas directed to Thompson and OTC, and told her that you would be reissuing
amended/corrected subpoenas calling for production in the latter part of August. Ms. Fritz
received the amended subpoenas on August 7, 2013. (Attached as Exhibit C.)

       The new investigative subpoenas issued to Thompson, OTC Solutions, Fung and
Pudong call for production of dozens of specific categories of documents covering the time
period beginning January 1, 2009 through December 31, 2011. The majority of these items
requested have previously been investigated in relation to the case filed by the
Commission on May 22, 2012, captioned SEC v. Recycle Tech et al., alleging that our Clients
violated the securities laws by virtue of their business practices in the investment
newsletter industry. That case is in active litigation and we are in the midst of discovery.

       That the present subpoenas cover many of the same topics as raised in the Recycle
Tech complaint is beyond reasonable dispute. For example, your subpoenas call for "all
communications" between our clients and Kevin Sepe and Ronny Halperin, two of the co-
defendants in the Recycle Tech complaint. Your subpoena also calls for all documents
concerning agreements or communications with Pudong, LLC and Ronny J. Halperin, PA,
both of whom are defendants in the Recycle Tech matter. Your subpoenas, on their face,


1 OTC  Solutions is a defunct entity and no longer exists. As such, Mr. Baker no longer represents OTC
Solutions. While this is a joint letter, Mr. Baker and his firm, Cyde Snow and Sessions, represent Mr. Anthony
Thompson and Mr. Sallah and his firm, Sallah Astarita & Cox, LLC, represent Mr. Jay Fung and Pudong, LLC.


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Peter A. Pizzani, Esq.
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would potentially require Thompson and Fung to disclose information within the scope of
the Commission's complaint in Recycle Tech.

        Given the overlap in topics covered and in the identity of parties and individuals at
issue, we are concerned that the Staff will have either the ability to share the subpoenaed
information for use in the Recycle Tech case or have a client obligation to do so. Put
differently, even if the Staff does not share information for use in the Recycle Tech case,
your client, the Commission, is the same for both the Blast Application investigation and
the Recycle Tech case. We are further concerned that the Commission will review
information collected in both matters. This concern is supported by our understanding
that neither Sepe nor Halperin had anything to do with Blast Applications, the putative
subject of your investigation, yet they are both individuals prominently featured in these
investigative subpoenas.

        As you are likely aware, when litigation is pending, utilization of an investigative
subpoena to gather evidence is impermissible under the SEC's authority and directly
circumvents the Federal Rules of Civil Procedure ("FRCP"). First, the Commission itself has
recognized that issuing subpoenas, like those issued to our clients, is improper because "[a]
court might conclude that the use of investigative subpoenas to conduct discovery is a misuse
of the SEC's investigative powers and circumvents the court's authority and limits on
discovery in the Federal Rules of Civil Procedure." SEC Enforcement Manual.2

       Second, courts have found the same. See SEC v. Life Partners Holdings. Inc. et al.,
Case No. 1:12-CV-00033-JRN (W.D. Texas Sept. 27, 2012) [Doc.47]. In Life Partners, the
Court held that the issuance of an administrative, or "investigative," subpoena constituted
an improper attempt to obtain "investigative" information that may be used by the SEC in
contemporaneous litigation, where discovery is subject to the limitations and protections
provided by the FRCP. The Life Partners court found the type of administrative subpoena
issued to our clients to be an "end-run" around governing discovery rules. The Life
Partners court prohibited the Commission from using information gathered from the
abusive administrative subpoenas and awarded attorney fees of $5,000 to the defendants.

        In a similar situation, In the Matter of Morgan Asset Mgmt., Inc., Admin. Proceeding
File No. 3-13847 (July 12, 2010), an Administrative Law Judge ("ALJ") found that two
investigations by the Commission were "functionally identical" and that the Commission's
use of investigative subpoenas constituted impermissible gathering of evidence. As a
result, the ALJ issued various prohibitions on the use of documents and information
derived from the investigative subpoena in the second matter.

       Accordingly, we respectfully request that you withdraw the investigative subpoenas
referenced above during the pendency of the Recycle Tech case and any corresponding
appeals. In light of our concerns and the authority cited above, we have advised Mr.


2We are familiar with the frequent government rejoinder that government manuals such as the SEC
Enforcement Manual and the U.S. Attorneys Manual do not create substantive rights. However, we cannot
ignore the applicable legal authority and the potential for abuse of the administrative subpoenas.


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September 24, 2013
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Thompson and Mr. Fung, as well as Pudong, not to produce documents pursuant to the
Staff's administrative subpoena. Should the Staff take the rash step of initiating a subpoena
enforcement action, we will accept service on behalf of our respective clients.

        Finally, in the event that the Staff refuses to withdraw the investigative subpoenas,
Messrs. Thompson and Fung individually each preserve the right to assert their respective
rights under the Fifth Amendment to the Constitution and Article I, Section 9 of the Florida
Constitution and to each invoke the act of production doctrine in response the
Commission's subpoena for documents concerning the above-referenced formal
investigation.

       However, we are open to discussing our concerns with the Staff to see if there is a
way to compromise without the need for litigation. Please let us know whether the Staff
agrees to withdraw the subpoenas at issue.

         We look forward to hearing from you.

                                      Sincerely,



                                      Brent R.
                                            R. Baker             Mmes D. Sallah
                                      Of Clyde Snow & Sessions   Of Sallah Astarita & Cox, LLC

Cc:      Christine Nestor,
         Senior Counsel, SEC Miami Office




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                                                                       CLARK W. SESSIONS
                                                                       RODNEY G. SNOW
                                                                       STEVEN E. CLYDE
                                                                       EDWIN C. BARNES
                                                                       NEIL A. KAPLAN'
                                                                       D. BRENT POSE
                                                                                                 KEVIN A. TURNEY
                                                                                                 ROBERT D. ANDREASEN
                                                                                                 KATHERINE E. JUDD
                                                                                                 DIANA I.. TELFER
                                                                                                 JONATHAN S. CLYDE
                                                                                                 SHANNON K. ZOLLINGER
                                                                       CHARLES R. BROWN I        TIMOTHY R. PACK
                                                                       J. SCOTT HUNTER           JACOB L. FONNESBECK'
                                                                       PERRIN R. LOVE •
                                                                       DEAN C ANDREASEN
                                                                                                 OF COUNSEL:
ONE UTAH CENTER • THIRTEENTH 110011                                    ANNF.LI R. SMITH
                                                                                                 NATHAN B. WILC:OX
                                                                       WAITER A. 120.1NEY, JR.
      201 SOUTH MAIN STREET                                                                      REAGAN L.B. DESMOND •          5
                                                                       MATTHEW A, STEWARD
  SALT LAKE CITY, UTAH 84111-2216                                      I. MICKELL .IIMENEZ       EDWARD W. CLYDE (1917-1991)
                                                                       JENNIFER A. JAMES,            SEW* LOHNSEL
TEL 801.322.2516 • FAX 801.521.6280
                                                                       CHRISTOPHER B. SNOW           AISO MAMIE() IN WASHINGION. El.f.
        WWW.ClyCiesnOW.COrn                                            BRENT R. BAKER.           5   ALSO ADMITIED III IDAHO
                                                                       D. LOREN WASHBURN,.        I ALSO ADMITIED IN COLORADO
                                                                                                 ,5 ALSO ADMITIED IN NEW YORK
                                                                       AARON D. LEBENIA          v ALSO AMIN., IN MASSACHUSETTS
                                                                       MARK L. SMITH.            v ALSO AWAITED IN CALIKOTTIW
                                                                       WAYNE Z. BENNETT          IS ALSO ADMITIED IN OREGOLI
                                                                       BRIAN C. WEBBER               ALSO ADMITIED WI NEVADA
                                                                       BRIAN A. LEBREGHT"




    November 5, 2013


    Peter A. Pizzani
    UNITED STATES SECURITIES & EXCHANGE COMMISSION
    New York Regional Office
    Brookfield Place, 200 Vesey Street
    New York, New York 10281-1022



                      RE:         Sec v. Recycle Tech
                                  Our File No.: 320115-001005


    Mr. Pizzani:

    Thank you for your letter dated October 30, 2013, and for your subsequent agreement to allow us
    until today to respond. As you note in your letter, we remain concerned about the overlap
    between the United States Securities and Exchange Commission's ("Commission") investigation
    in re Blast Applications NY-8264) being conducted by the Enforcement staff in the New York
    Regional Office, and the Commission's pending litigation in Florida regarding Recycle Tech
    filed by the Enforcement staff in the Miami Regional Office.

    We appreciate your good faith effort to address our concerns by offering to allow us to withhold
    from production documents related to Recycle Tech, which you have described as the "Recycle
    Tech Carve Out." We are trying to find a way to respond to your subpoena. However, as I
    mentioned during our telephone conversation, the Commission has taken the position through
    trial counsel in the Miami litigation, Ms. Christine Nestor's, that as part of its previously filed
    Recycle Tech case seeking injunctive relief, the Commission is entitled to get discovery of
    information relating to all other newsletters prepared by Mr. Thompson and any other individual
    or entity connected with those newsletters or companies profiled. In fact, her second set of


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discovery requests and many of her deposition questions cover the same time period in your July
23, 2013 subpoena and track your substantive investigative subpoena requests very closely,
including, seeking information about, among other things, Blast Applications, Smart Holdings
and Belmont Partners. In fact she represented in Court that the purpose in doing so was to seek
properly expansive injunctive relief for all of Thompson's conduct.

As I told you last week, we took these matters before the Court to be resolved. Ms. Nestor
argued strenuously last week to U.S Magistrate Judge John J. 0' Sullivan assigned to this matter
in open court that she is entitled to information regarding all issuers included in any newsletter
associated with my client in order to prove the Commission's claim for need for injunctive relief.
The resulting order explicitly states as follows: "ORDERED AND ADJUDGED that the
documents discussed during the hearing regarding the New York SEC investigation are relevant
and discoverable." (Order attached as Exhibit A).

We cannot agree to produce the same documents covering the same newsletters, companies,
individuals and transactions to two SEC offices (obviously within the same agency) - one
pursuant to an investigative subpoena and the other in court-supervised discovery under the
FRCP in active litigation. As you know, this type of practice is forbidden. See, e.g., SEC v. Life
Partners Holdings, Inc. et al., Case No. 1:12-CV-00033-JRN (W.D. Texas Sept. 27, 2012)
(holding the issuance of an administrative, or "investigative," subpoena constituted an improper
attempt to obtain "investigative" information that may be used by the SEC in contemporaneous
litigation, where discovery is subject to the limitations and protections provided by the FRCP).

The Commission's position through Ms. Nestor is that Recycle Tech means any information
including the specific information sought in your subpoena. In fact, review of the minute order
will show you that it specifically references your investigation. If that is how you are willing to
define materials directly related to Recycle Tech for purposes of the proposed Recycle Tech
Carve Out, we need you to re-issue a carefully crafted subpoena to avoid requesting anything
Ms. Nestor is also seeking through the discovery process. If not then I believe we need to have
further discussions to resolve our differences.

Sincerely,

CLYDE SNOW & SESSIONS




Brent R. Baker


BRB:at




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  1                       UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
  2                              MIAMI DIVISION
  3                Case No. 12-CV-21656-LENARD/O'SULLIVAN
  4   SECURITIES AND EXCHANGE
      COMMISSION,
  5
  6                   Plaintiff,
  7   vs.                                          MIAMI, FLORIDA,
                                                   OCTOBER 31, 2013
  8
    RECYCLE, TECH, INC.,
  9 OTC SOLUTIONS, LLC,
    ANTHONY THOMPSON,
 10 PUDONG, LLC,
    JAY FUNG,
 11 KEVIN SEPE,
    RONNY J. HALPERIN,
 12 RYAN GONZALEZ,
 13
                     Defendants.
 14
 15                    TRANSCRIPT OF DISCOVERY HEARING
                  BEFORE THE HONORABLE JOHN J. O'SULLIVAN,
 16                   UNITED STATES MAGISTRATE JUDGE
 17
      APPEARANCES:
 18
 19   FOR THE PLAINTIFF:
 20                                 SECURITIES AND EXCHANGE COMMISSION
                                    801 Brickell Avenue
 21                                 Suite 1800
                                    Miami, Florida 33131
 22                                 BY: CHRISTINE NESTOR, ESQ.
 23
 24
      REPORTED BY:                  JERALD M. MEYERS, RPR.
 25   TELEPHONE:                    954-431-4757
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  1   and seeking discovery on all the same things you are covering,

  2   then you have what we call generally a stalking horse problem

  3   which is that you are using two different forums and two

  4   different opportunities, one being discovery and one being

  5   investigative subpoenas to get information.

  6            The New York has finally limited themselves to

  7   everything but Recycle Tech.

  8            The problem we have in this case is that the SEC seems

  9   to want to expand the Recycle Tech case to include the same

 10   things that the New York office is currently investigating, and

 11   we just want that. We will deal with one in one place and one

 12   in the other place.

 13             We don't want to deal with both in both places, and

 14   there is certainly a lot of case law that suggests that our

 15   approach is appropriate, and the SEC trying to get information

 16   on two separate fronts is inappropriate.

 17             MS. NESTOR: Your Honor, first, I can't speak as to

 18   any, I am not even permitted to speak about any potential

 19   investigation that is pending that is non-public.

 20             So I am not really sure where that leaves me, and I am

 21   not a New York attorney. I am not involved in any New York

 22   related investigation.

 23             What I can tell you is that there may be a subpoena

 24   issue that I am aware of where they are seeking to not provide

 25   documents to New York and then now it looks like not provide
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  1   documents to me.

  2            THE COURT: I don't care what they are doing in New

  3   York.

  4            MS. NESTOR: Okay.

  5            THE COURT: So what you need to tell me is why you

  6   should be able to not obtain documents that they believe you

  7   should not be able to obtain.

  8            MS. NESTOR: Well, first, I don't know specifically

  9   what they are discussing. I have issued a second request for

 10   production of documents. That is what I can assume they are

 11   discussing today, but because I am not on notice of this, I

 12   have asked for documents related to other promotional schemes

 13   related to the same parties.

 14            In other words, one of the main architects of this

 15   whole fraud is a person by the name of Kevin Sepe and his

 16   attorney Ronny Halperin.

 17            They were both sued. They both settled, but they were

 18   involved in numerous promotional campaigns, and the same two

 19   promotors in this case were involved with them in those

 20   promotional campaigns.

 21            One of the things we are asking for in this case is

 22   injunctive relief because of not an isolated occurrence of

 23   securities violations, but it is ongoing and continuing, Your

 24   Honor know the law and what I need to prove to get an

 25   injunction.
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  1            So I have asked for and I could I guess ask for every

  2 promotional campaign that they did, but I have limited it to

  3 the ones that I know these other two defendants were also

  4 involved with to show that they had an ongoing business

  5 relationship or this is what they did all of the time.

  6            THE COURT: Okay. What is wrong with that?

  7            MR. SMITH: Your Honor, I think it is pretty clear

  8 that the New York office, Mr. Personi from the New York office

  9 has said, "Look, we are investigating this other stuff."

 10            THE COURT: Well, she is not investigating. She just

 11 wants to show that there was a continuum of conduct so that she

 12 can convince Judge Lenard to issue an injunction that says that

 13 you guys or somebody can no longer deal stocks, or whatever it

 14 is that she wants in the injunction.

 15            That's relevant to this lawsuit. I don't care if, you

 16 know, there is an investigation in New York or not.

 17            What does that have to do with how she is going to

 18 prove her case down here? That's not a stalking horse. That's

 19 not an improper use of a subpoena. She has got an obligation

 20 to prove her case to show ongoing conduct.

 21            MR. SMITH: In that case, Your Honor, then she is

 22 going to have to have made some sort of assertion and have some

 23 sort of evidentiary basis to present to you here today that

 24 with respect to Mr. Thompson and OTC Solutions that there is

 25 some ongoing conduct, and that's not before you here today.
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  1 There is no evidence of that.

  2             In fact, OTC Solutions, as we have discussed, is

  3 defunct. So to try to get an injunction against ongoing

  4 conduct against a defunct company as basis for seeking broad

  5 expansive discovery well beyond the scope of her actual

  6 complaint seems inappropriate.

  7             THE COURT: What do you say about that, counsel?

  8             MS. NESTOR: Your Honor, because they are defunct

  9 today does not mean that they may not open shop tomorrow.

 10 There is no prohibition --

 11             THE COURT: Well, I mean Anthony Thompson, is he

 12 involved in this ongoing conduct?

 13             MS. NESTOR: He has testified that he is not.

 14             THE COURT: Okay.

 15             MS. NESTOR: That he is not presently.

 16             THE COURT: Okay.

 17             MS. NESTOR: But there is nothing. Unless we get an

 18 injunction against him, there is nothing prohibiting from him

 19 the day after trial or the day after a decision in this matter

 20 to go back into the industry.

 21             So we are trying to have penny stock bar on him and

 22 get an injunction so that he cannot continue to violate these

 23 laws, but just because he stopped the conduct today doesn't

 24 mean our case just goes away.

 25             THE COURT: No, I understand that, but the issue is
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  1 the relevance of this other the conduct.

  2             MS. NESTOR: Well, because one of the factors in

  3 getting an injunction is that it wasn't just isolated.

  4             In other words, I don't want them saying, "Oh, well,

  5 he had this, you know, Recycle Tech issue."

  6             No, no, no. There were numerous issues. It involved,

  7 there were numerous issues with the same exact parties

  8 throughout the entire thing.

  9            THE COURT: Well, That's what I am saying. With

 10 Mr. Thompson?

 11             MS. NESTOR: Yes. Yes. With Mr. Thompson, Mr. Fung,

 12 Mr. Sepe, and to a certain degree possibly Mr. Halperin.

 13            THE COURT: And these documents that you are asking

 14 for are documents of companies or that Mr. Thompson had some

 15 relationship to?

 16             MS. NESTOR: Yes. He has already testified to it.

 17            THE COURT: Okay. Well, then, there is no problem.

 18 The documents are to be produced.

 19            What else that are relevant to this lawsuit, even

 20 though they don't involve the exact claim in this lawsuit, the

 21 conduct is relevant and they may be admissible at trial and in

 22 discovery. What else for future hearings?

 23             MR. SMITH: No. Please, Your Honor.

 24            THE COURT: You need to make sure that you are having

 25 detailed discussions with opposing counsel about these issues
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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                       Case No.: 12-CV-21656-LENARD/O'SULLIVAN


  SECURITIES AND EXCHANGE
  COMMISSION,
      Plaintiff,

  v.
  RECYCLE TECH, INC., RYAN GONZALEZ,
  OTC SOLUTIONS LLC, ANTHONY THOMPSON,
  PUDONG LLC, AND JAY FUNG.
                                                       /

                    ORDER ON INFORMAL DISCOVERY CONFERENCE

          THIS MATTER is before the Court following an informal discovery conference

  held before the undersigned on October 31, 2013. Having held a discovery hearing in

  this matter and for the reasons stated on the record, it is

           ORDERED AND ADJUDGED that if the plaintiff wishes to further address the

  attorney client privilege issue discussed during the hearing or the third party waiver of

  that privilege by E. Van Nguyen, the plaintiff may file a memorandum with the Court. It

  is further

           ORDERED AND ADJUDGED that on or before 5:00 PM on November 8, 2013,

  OTC Solutions shall provide the plaintiff with responses to the subject interrogatories

  that are signed by Anthony Thompson or some other former official of OTC Solutions.

  OTC Solutions is permitted to make a notation on their response that OTC Solutions is

  now defunct. It is further

           ORDERED AND ADJUDGED that the defendants are limited to ten (10)

  depositions and shall not depose Kathleen Strandal, without further Order of the Court.

  It is further
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          ORDERED AND ADJUDGED that with respect to the Subnosky witness

  statement in this matter, the plaintiff shall provide the defendant with a copy of the

  subject check and promissory note. It is further

          ORDERED AND ADJUDGED that the documents discussed during the hearing

  regarding the New York SEC investigation are relevant and discoverable. It is further

          ORDERED AND ADJUDGED that the depositions of Joe Muse, the 30(b)(6)

  witness for Belmont Partners, and Hadie Abercaber, shall occur on or before November

  15, 2013. The depositions shall be taken at the Washington, DC SEC office, so that

  counsel for the plaintiff may participate via video conference. No other deadlines set by

  the District Court Judge in this matter are extended by this Order.

          DONE and ORDERED, in Chambers, in Miami, Florida, this 31st day of October,

  2012.




                                              HN J. O'SULLIVAN
                                            UNITED STATES MAGISTRATE JUDGE
  Copies furnished to:
  U.S. District Judge Lenard
  All Counsel of Record




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